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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

IN RE: GENERIC PHARMACEUTICALS                               MDL 2724
PRICING ANTITRUST LITIGATION                                 16-MD-2724
__________________________________________                   HON. CYNTHIA M. RUFE

THIS DOCUMENT RELATES TO:

IN RE: CLOBETASOL CASES                                      16-CB-27240
All End-Payer and Indirect                                   16-CB-27242, 16-CB-27243
Reseller Actions

IN RE: DIGOXIN CASES                                         16-DG-27240
All End-Payer and Indirect                                   16-DG-27242, 16-DG-27243
Reseller Actions

IN RE: DIVALPROEX ER CASES                                   16-DV-27240
All End-Payer and Indirect                                   16-DV-27242, 16-DV-27243
Reseller Actions

IN RE: DOXYCYCLINE CASES                                     16-DX-27240
All End-Payer and Indirect                                   16-DX-27242, 16-DX-27243
Reseller Actions

IN RE: ECONAZOLE CASES                                       16-EC-27240
All End-Payer and Indirect                                   16-EC-27242, 16-EC-27243
Reseller Actions

IN RE: PRAVASTATIN CASES                                     16-PV-27240
All End-Payer and Indirect                                   16-PV-27242, 16-PV-27243
Reseller Actions
_________________________________________

                                            OPINION

Rufe, J.                                                                    February 15, 2019

       Defendants in this multidistrict antitrust litigation have moved to dismiss the state law

claims by the End-Payer Plaintiffs (“EPPs”) and the Indirect-Reseller Plaintiffs (“IRPs”) with

respect to the following generic drugs: (1) clobetasol; (2) digoxin; (3) divalproex ER;
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(4) doxycycline; (5) econazole; and (6) pravastatin (collectively, the “Group 1” drugs).1 For the

reasons set forth below, the motions will be granted in part and denied in part.

I.       BACKGROUND

         The background relevant to this decision is set forth at length in the Court’s October 16,

2018 Opinion2 addressing Defendants’ motions to dismiss Plaintiffs’ Sherman Act claims with

respect to the Group 1 drugs and the Court will not here restate it in detail. Broadly, Plaintiffs

contend that Defendants – pharmaceutical manufacturers – engaged in an unlawful scheme or

schemes to fix, maintain and stabilize prices, rig bids, and engage in market and customer

allocations of certain generic pharmaceutical products, including the Group 1 drugs. The EPPs

and the IRPs allege that during the time relevant to their claims Defendants sold or distributed

the Group 1 drugs “in a continuous and uninterrupted flow of interstate commerce to customers

throughout the United States.”3

         Relevant to the issues presently before the Court, the EPPs and the IRPs assert claims for

monetary damages under various state antitrust laws, as well as state law consumer protection

claims and/or claims for unjust enrichment. They bring state law claims because they are

precluded from asserting federal antitrust claims for damages under the Supreme Court’s




         1
           On October 16, 2018, the Court ruled on Defendants’ joint and individual motions to dismiss the Sherman
Act claims in the operative consolidated class action complaints brought on behalf of the Direct Purchaser Plaintiffs
(“DPPs”), the End-Payer Plaintiffs (“EPPs”), and the Indirect-Reseller Plaintiffs (“IRPs”) with respect to the Group
1 drugs. In re Generic Pharm. Pricing Antitrust Litig., 338 F. Supp. 3d 404 (E.D. Pa. 2018). The Court reserved
judgment with respect to Defendants’ motions to the extent they sought to dismiss the state law claims brought on
behalf of the Group 1 EPPs and IRPs. Id. at 434. This Opinion disposes of those motions.

         Id. at 411–34. Relevant formulations of the Group 1 drugs implicated in the Group 1 Plaintiffs’
         2

complaints also are identified in the Court’s prior Opinion. See id. at 410, nn.4–9.
        3
          See CB EPP Compl. ¶ 60; DG EPP Compl. ¶ 48; DV EPP Compl. ¶ 45; DX EPP Compl. ¶ 58; EC EPP
Compl. ¶ 43; PV EPP Compl. ¶ 52; CB IRP Compl. ¶ 52; DG IRP Compl. ¶ 44; DV IRP Compl. ¶ 32; DX IRP
Compl. ¶ 46; EC IRP Compl. ¶ 41; PV IRP Compl. ¶ 49.



                                                         2
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decision in Illinois Brick Co. v. Illinois,4 which “determined that direct purchasers are the only

parties ‘injured’ in a manner that permits them to recover damages.”5

         A.         EPPS

         The EPPs include employee welfare benefits funds, labor unions, and private insurers, as

well as individual plaintiffs, that allege either that they indirectly purchased generic

pharmaceuticals manufactured by one or more Defendants or that they provided reimbursements

for some or all of the purchase price for the following drugs:

 GROUP 1 CASES                                                  Divalproex
                                       Clobetasol   Digoxin                   Doxycycline    Econazole      Pravastatin
 End-Payer Plaintiffs:                                             ER
 American Federation of State,
 County and Municipal
                                            x           x           x               x             x             x
 Employees District Council 37
 Health & Security Plan
 Detectives Endowment
 Association of the City of New                         x                           x             x
 York
 Nina Diamond                                           x
 Hennepin County                            x
 International Union of
 Operating Engineers Local 30                                                       x
 Benefits Fund
 Robby Johnson                                                                                                  x
 Louisiana Health Service &
 Indemnity Company d/b/a Blue
 Cross and Blue Shield of                   x           x           x               x             x             x
 Louisiana and HMO Louisiana,
 Inc.
 Ottis McCrary                                                                      x
 Philadelphia Federation of
 Teachers Health and Welfare                                        x
 Fund
 The City of Providence Rhode
                                                        x                                         x             x
 Island
 Sergeants Benevolent
 Association of the Police
                                            x                                                     x             x
 Department of the City of New
 York Health and Welfare Fund



         4
           431 U.S. 720, 730, 737 (1977) (interpreting federal antitrust law to preclude indirect purchasers from
recovering damages to avoid “a serious risk of multiple liability for defendants” and “whole new dimensions of
complexity to treble-damages suits [which would] seriously undermine their effectiveness”).
         5
             Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 424 F.3d 363, 366 n.2 (3d Cir. 2005).



                                                            3
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     GROUP 1 CASES                                                     Divalproex
                                         Clobetasol      Digoxin                     Doxycycline    Econazole      Pravastatin
     End-Payer Plaintiffs:                                                ER
     Self-Insured Schools of
                                                x             x             x             x               x              x
     California
     David Sherman                                                                                                       x
     Twin Cities Pipe Trades
                                                              x
     Welfare Fund
     UFCW Local 1500 Welfare
                                                                                          x
     Fund
     Uniformed Fire Officers
     Association Family Protection              x
     Plan Local 854
     Unite Here Health                          x             x             x             x               x              x
     United Food & Commercial
     Workers and Employers
                                                                                                          x
     Arizona Health and Welfare
     Trust
     Valerie Velardi                                                                      x
     1199SEIU National Benefit
                                                x                           x
     Fund
     1199SEIU Greater New York
                                                x                           x
     Benefit Fund
     1199SEIU National Benefit
                                                x                           x
     Fund for Home Care Workers
     1199SEIU Licensed Practical
                                                x                           x
     Nurses Welfare Fund

              The EPPs’ complaints include antitrust, consumer protection and unjust enrichment

    claims under the laws of various states and territories as is set forth in the following table:

End-Payer                 State Antitrust                         Consumer Protection                 Unjust Enrichment
Plaintiffs
                CB   DG      DV   DX     EC         PV   CB       DG   DV       DX   EC   PV   CB    DG       DV    DX       EC   PV
Alabama6        wd   wd      wd   wd     wd         wd                                          x     x        x     x        x    x
Alaska                                                   x         x    x       x    x    x     x     x        x     x        x    x
Arizona          x    x       x      x      x       x                                           x     x        x     x        x    x
Arkansas                                                 x         x    x       x    x    x     x     x        x     x        x    x
California       x    x       x      x      x       x    x         x    x       x    x    x     x     x        x     x        x    x
Colorado                                                 x         x    x       x    x    x     x     x        x     x        x    x
Connecticut                                                                                     x     x        x     x        x    x
Delaware                                                 x         x    x       x    x    x     x     x        x     x        x    x
District of      x    x       x      x      x       x    x         x    x       x    x    x     x     x        x     x        x    x
Columbia
Florida                                                  x         x    x       x    x    x    x      x       x      x       x    x
Georgia                                                  x         x    x       x    x    x    x      x       x      x       x    x
Hawaii           x    x       x      x      x       x    x         x    x       x    x    x    x      x       x      x       x    x
Idaho                                                                                          x      x       x      x       x    x

             6
               EPPs have now withdrawn all Alabama antitrust claims. See EPPs’ Response to Defs.’ State Antitrust
    Apps.; see also CB EPP Opp. Mem. at 30 n.48; DG EPP Opp. Mem. at 34 n.55; DV EPP Opp. Mem. at 31, n.54.
    DX EPP Opp. Mem. at 33 n.53; EC EPP Opp. Mem. at 30 n.55; PV EPP Opp. Mem. at 30 n.63. Accordingly, they
    will be dismissed.



                                                                   4
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End-Payer                  State Antitrust                  Consumer Protection                   Unjust Enrichment
Plaintiffs
                 CB   DG      DV   DX    EC      PV   CB    DG    DV     DX    EC    PV    CB    DG     DV    DX     EC     PV
Illinois          x    x       x    x     x       x                                         x     x      x     x      x      x
Indiana
Iowa             x     x       x     x       x   x                                          x      x     x     x      x     x
Kansas           x     x       x     x       x   x                                          x      x     x     x      x     x
Kentucky                                                                                    x      x     x     x      x     x
Louisiana                                                                                   x      x     x     x      x     x
Maine            x     x       x     x       x   x                                          x      x     x     x      x     x
Maryland                                                                                    x      x     x     x      x     x
Massachusetts                                          x     x     x      x     x     x     x      x     x     x      x     x
Michigan         x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Minnesota        x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Mississippi      x     x       x     x       x   x                                          x      x     x     x      x     x
Missouri                                               x     x     x      x     x     x     x      x     x     x      x     x
Montana                                                x     x     x      x     x     x     x      x     x     x      x     x
Nebraska         x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Nevada           x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
New              x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Hampshire
New Jersey7                                           wd    wd     wd    wd    wd    wd     x      x     x     x      x     x
New Mexico       x     x       x     x       x   x     x     x      x     x     x     x     x      x     x     x      x     x
New York         x     x       x     x       x   x     x     x      x     x     x     x     x      x     x     x      x     x
North            x     x       x     x       x   x     x     x      x     x     x     x     x      x     x     x      x     x
Carolina
North Dakota     x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Ohio
Oklahoma                                                                                    x      x     x     x      x     x
Oregon           x     x       x     x       x   x                                          x      x     x     x      x     x
Pennsylvania                                                                                x      x     x     x      x     x
Puerto Rico                                                                                 x      x     x     x      x     x
Rhode Island     x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
South                                                  x     x     x      x     x     x     x      x     x     x      x     x
Carolina
South Dakota     x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Tennessee        x     x       x     x       x   x                                          x      x     x     x      x     x
Texas                                                                                       x      x     x     x      x     x
Utah             x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x
Vermont8         x     x       x     x       x   x     x     x     x      x     x     x     x      x     x     x      x     x

             7
               EPPs have now withdrawn all New Jersey Consumer Protection Act claims. See CB EPP Opp. Mem. at
    35; DG EPP Opp. Mem. at 40; DV EPP Opp. Mem. at 36; DX EPP Opp. Mem. at 38; EC EPP Opp. Mem. at 36; PV
    EPP Opp. Mem. at 36. Accordingly, they will be dismissed. IRPs’ New Jersey Consumer Protection Act claims
    have not been withdrawn.
             8
               In their motions to dismiss the digoxin and divalproex ER EPPs’ complaints, Defendants argue that
    “Vermont does not have an antitrust statute of general application . . . .” Defs.’ Mem. in Support of Mot. to Dismiss
    DG EPPs’ Compl. at 29 n.18; Defs.’ Mem. in Support of Mot. to Dismiss DV EPPs’ Compl. at 27 n.11. Digoxin
    EPPs respond that “Vermont combines its antitrust and consumer protection provisions into a single statute that
    plainly prohibits both antitrust and consumer protection violations.” DG EPP Opp. Br. at 32 (citing 9 V.S.A.
    § 2453(a)). They note that the Vermont statute authorizes indirect purchaser antitrust suits, addresses antitrust
    remedies and expressly prohibits collusion, market allocation and price-fixing. DG EPP Opp. Br. at 32 (citing 9
    V.S.A. §§ 2453a, 2451a(h), and 2465). The Court will not dismiss EPPs’ or IRPs’ Vermont antitrust claims.


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End-Payer                   State Antitrust                 Consumer Protection                     Unjust Enrichment
Plaintiffs
                  CB   DG      DV   DX    EC      PV   CB    DG    DV     DX    EC    PV     CB    DG    DV     DX    EC     PV
Virgin Islands                                          x     x     x      x     x     x      x     x     x      x     x      x
Virginia                                                x     x     x      x     x     x      x     x     x      x     x      x
Washington                                                                                    x     x     x      x     x      x
West Virginia     x     x       x     x       x   x    x      x     x      x     x     x      x     x     x      x     x      x
Wisconsin         x     x       x     x       x   x    x      x     x      x     x     x      x     x     x      x     x      x
Wyoming                                                                                       x     x     x      x     x      x

             Group 1 EPPs reside in or are headquartered in various states, but not in all of the

    jurisdictions listed above.9 Their Complaints allege that they indirectly purchased or made

    payments or reimbursements for the Group 1 drugs in many – but not necessarily all – of the

    jurisdictions where they bring their state law claims.10 However, they assert their claims

    individually and on behalf of a class, seeking damages for “[a]ll persons and entities in the End-

    Payer Damages Jurisdictions who indirectly purchased, paid and/or provided reimbursement for

    some or all of the purchase price for” the Group 1 Drugs.11 The “End-Payer Damages Jurisdictions”

    are defined as to include all States (except Indiana and Ohio), as well as the District of Columbia,




            9
              See CB EPP Compl. ¶¶ 37-44; DG EPP Compl. ¶¶ 31-39; DV EPP Compl. ¶¶ 32-37; DX EPP Compl.
    ¶¶ 35-43; EC EPP Compl. ¶¶ 31-38; PV EPP Compl. ¶¶ 37-44; see also Defs.’ Mem. in Support of Mot. to Dismiss
    DX EPP Compl. at 20 (“EPPs fail to allege that any of the named plaintiffs is a citizen or resident of Utah . . . .”).
             10
                See, e.g., Defs.’ Mem. in Support of Mot. to Dismiss CB EPP Compl. at 20 (“EPPs do not claim to have
    resided in, nor to have purchased or made reimbursements for clobetasol in, two of the jurisdictions in which they
    assert claims under consumer protection statutes and for unjust enrichment – Alaska and the U.S. Virgin Islands.”);
    Defs.’ Mem. in Support of Mot. to Dismiss DG EPP Compl. at 10 ( “EPPs do not allege that they purchased or
    provided reimbursement for digoxin in the District of Columbia, the U.S. Virgin Islands, or in 7 states for which
    they bring claims: Alaska, Kentucky, Montana, North Dakota, South Dakota, Vermont, and West Virginia.”); Defs.’
    Mem. in Support of Mot. to Dismiss CB EPP Compl. at 20 (“[E]PPs do not claim to have resided in, or purchased or
    made reimbursements for Divalproex in two of the jurisdictions in which they assert claims – Vermont and the U.S.
    Virgin Islands.”); Defs.’ Mem. in Support of Mot. to Dismiss EC EPP Compl. at 20 (“EPPs here do not allege that
    they purchased or provided reimbursement for Econazole in seven states or territories under whose laws they assert
    claims: Alaska, Montana, North Dakota, South Dakota, Vermont, the U.S. Virgin Islands, and West Virginia.”);
    Defs.’ Mem. in Support of Mot. to Dismiss EC EPP Compl. at 2 (“None of the EPPs claim to have resided,
    purchased, or reimbursed purchases of pravastatin in South Dakota or the U.S. Virgin Islands.”).
            11
               CB EPP Compl. ¶ 231; DG EPP Compl. ¶ 199; DV EPP Compl. ¶ 197; DX EPP Compl. ¶ 231; EC EPP
    Compl. ¶ 205; PV EPP Compl. ¶ 252; see also CB EPP Compl. ¶ 14; DG EPP Compl. ¶ 14; DV EPP Compl. ¶ 14;
    DX EPP Compl. ¶ 14; EC EPP Compl. ¶ 14; PV EPP Compl. ¶ 19.



                                                               6
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Puerto Rico and the U.S. Virgin Islands.12

        B.        IRPS

        The IRPs are the following independent pharmacies that allege they acquire drugs

indirectly through drug wholesalers rather than directly from drug manufacturers13:

 GROUP 1 CASES                                                 Divalproex
                                       Clobetasol   Digoxin                  Doxycycline    Econazole    Pravastatin
 Indirect Reseller Plaintiffs:                                    ER
 Chet Johnson Drug, Inc.                   x           x           x              x             x             x
 Deal Drug Pharmacy                        x           x           x              x             x             x
 Falconer Pharmacy, Inc.                   x           x           x              x             x             x
 Halliday’s & Koivisto’s Pharmacy          x           x           x              x             x             x
 Russell’s Mr. Discount Drugs, Inc.        x           x           x              x             x             x
 West Val Pharmacy                         x           x           x              x             x             x

Chet Johnson is in Avery, Wisconsin.14 Deal Drug is in Nashville, Tennessee.15 Falconer is in

Falconer, New York.16 Russell’s is in Lexington, Mississippi.17 Halliday’s is in Jacksonville,

Florida.18 West Val is in Encino, California.19

        The IRPs’ complaints include antitrust, consumer protection and unjust enrichment

claims under the laws of various states and territories as is set forth in the following table20:


        12
          See CB EPP Compl. ¶ 231 n.105; DG EPP Compl. ¶ 199 n.109; DV EPP Compl. ¶ 197 n.100; DX EPP
Compl. ¶ 231 n.133; EC EPP Compl. ¶ 2045 n.97; PV EPP Compl. ¶ 252 n.101.
         13
            See, e.g. EC IRP Compl. ¶ 24 (“Independent pharmacies rarely purchase generic drugs directly from the
manufacturer, and instead acquire drugs almost exclusively from drug wholesalers such as McKesson Corp.,
Cardinal Health Inc., or Amerisource Bergen Corp.”).
        14
             CB IRP Compl. ¶ 41.
        15
             CB IRP Compl. ¶ 40.
        16
             CB IRP Compl. ¶ 39.
        17
             CB IRP Compl. ¶ 38.
        18
             CB IRP Compl. ¶ 37.
        19
             CB IRP Compl. ¶ 36.
         20
            The state law claims brought by the Group 1 EPPs and IRPs largely align. However, Group 1 IRPs do
not assert the following claims raised by the Group 1 EPPs: a state antitrust claim under Hawaii law; consumer
protection claims under the laws of: the District of Columbia, Hawaii, Massachusetts, Missouri, Montana, Rhode
Island, Utah, Vermont, and Virginia; and unjust enrichment claims under the laws of Connecticut, Hawaii,
Kentucky, and Oklahoma.


                                                        7
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Indirect                   State Antitrust                 Consumer Protection                 Unjust Enrichment
Reseller
Plaintiffs
                  CB   DG     DV   DX    EC      PV   CB   DG    DV    DX    EC    PV    CB    DG    DV    DX    EC    PV
Alabama            x    x      x    x     x       x                                       x     x     x     x     x     x
Alaska                                                x     x     x     x     x     x     x     x     x     x     x     x
Arizona           x    x       x     x       x   x                                        x     x     x     x     x     x
Arkansas                                              x     x     x     x     x     x     x     x     x     x     x     x
California        x    x       x     x       x   x    x     x     x     x     x     x     x     x     x     x     x     x
Colorado                                              x     x     x     x     x     x     x     x     x     x     x     x
Connecticut
Delaware                                              x     x     x     x     x     x     x     x     x     x     x    x
District of       x    x       x     x       x   x                                        x     x     x     x     x    x
Columbia
Florida                                               x     x     x     x     x     x     x     x     x     x     x    x
Georgia                                               x     x     x     x     x     x     x     x     x     x     x    x
Hawaii
Idaho                                                                                     x     x     x     x     x    x
Illinois          x    x       x     x       x   x                                        x     x     x     x     x    x
Indiana
Iowa              x    x       x     x       x   x                                        x     x     x     x     x    x
Kansas            x    x       x     x       x   x                                        x     x     x     x     x    x
Kentucky
Louisiana                                                                                 x     x     x     x     x    x
Maine             x    x       x     x       x   x                                        x     x     x     x     x    x
Maryland                                                                                  x     x     x     x     x    x
Massachusetts                                                                             x     x     x     x     x    x
Michigan21        x    x       x     x       x   x    wd    x    wd    wd    wd    wd     x     x     x     x     x    x
Minnesota         x    x       x     x       x   x     x    x     x     x     x     x     x     x     x     x     x    x
Mississippi       x    x       x     x       x   x                                        x     x     x     x     x    x
Missouri                                                                                  x     x     x     x     x    x
Montana                                                                                   x     x     x     x     x    x
Nebraska          x    x       x     x       x   x     x    x     x     x     x     x     x     x     x     x     x    x
Nevada22          x    x       x     x       x   x    wd    x    wd    wd    wd    wd     x     x     x     x     x    x
New               x    x       x     x       x   x     x    x     x     x     x     x     x     x     x     x     x    x
Hampshire
New Jersey                                            x     x     x     x     x     x     x     x     x     x     x    x
New Mexico        x    x       x     x       x   x    x     x     x     x     x     x     x     x     x     x     x    x
New York          x    x       x     x       x   x    x     x     x     x     x     x     x     x     x     x     x    x
North             x    x       x     x       x   x    x     x     x     x     x     x     x     x     x     x     x    x



             21
                In their response to Defendants’ Motions to Dismiss, IRPs voluntarily dismiss their clobetasol,
     divalproex ER, doxycycline, econazole and pravastatin claims under the Michigan consumer protection statute.
     Accordingly, the Court will dismiss these claims. See CB IRP Opp. Mem. at 21; DV IRP Opp. Mem. at 25; DX IRP
     Opp. Mem. at 21; EC IRP Opp. Mem. at 24; PV IRP Opp. Mem. at 24. Digoxin IRPs’ Michigan consumer
     protection claim remains.
              22
                 In their response to Defendants’ Motions to Dismiss, IRPs voluntarily dismiss their clobetasol,
     divalproex ER, and pravastatin claims under the Nevada consumer protection statute. Accordingly, the Court will
     dismiss these claims. See CB IRP Opp. Mem. at 21; DV IRP Opp. Mem. at 25; DX IRP Opp. Mem. at 21; EC IRP
     Opp. Mem. at 24; PV IRP Opp. Mem. at 24. Digoxin IRPs’ Nevada consumer protection claim remains.




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Indirect                     State Antitrust                 Consumer Protection             Unjust Enrichment
Reseller
Plaintiffs
                  CB    DG      DV   DX    EC      PV   CB   DG   DV   DX    EC    PV   CB   DG   DV   DX   EC   PV
Carolina
North Dakota       x     x       x     x       x   x    x     x    x    x    x     x    x    x    x    x    x    x
Ohio
Oklahoma
Oregon             x     x       x     x       x   x                                    x    x    x    x    x    x
Pennsylvania                                                                            x    x    x    x    x    x
Puerto Rico                                                                             x    x    x    x    x    x
Rhode Island       x     x       x     x       x   x                                    x    x    x    x    x    x
South                                                   x     x    x    x    x     x    x    x    x    x    x    x
Carolina
South Dakota       x     x       x     x       x   x    x     x    x    x    x     x    x    x    x    x    x    x
Tennessee          x     x       x     x       x   x                                    x    x    x    x    x    x
Texas                                                                                   x    x    x    x    x    x
Utah               x     x       x     x       x   x                                    x    x    x    x    x    x
Vermont            x     x       x     x       x   x                                    x    x    x    x    x    x
Virgin Islands                                          x     x    x    x    x     x    x    x    x    x    x    x
Virginia                                                                                x    x    x    x    x    x
Washington                                                                              x    x    x    x    x    x
West Virginia      x     x       x     x       x   x    x     x    x    x    x     x    x    x    x    x    x    x
Wisconsin          x     x       x     x       x   x    x     x    x    x    x     x    x    x    x    x    x    x
Wyoming                                                                                 x    x    x    x    x    x

             Although IRPs are not located in each of the jurisdictions listed in the table above, they

     allege that “[t]here are approximately 22,000 privately-owned independent pharmacies in the

     United States” and that “[o]ver a billion prescriptions for U.S. patients are dispensed through

     independent pharmacies each year.”23 Thus, IRPs assert their state law claims individually and

     on behalf of a damages class of all privately-held pharmacies in the “IRP Damages Jurisdictions”

     that indirectly purchased the relevant Group 1 drug during the class period alleged in each

     Group 1 complaint.24 The IRP Damages Jurisdictions are:

             Alabama, Alaska, Arizona, Arkansas, California, Colorado, Delaware, Florida,
             Georgia, Idaho, Illinois, Iowa, Kansas, Louisiana, Maine, Maryland,
             Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska,
             Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina,
             North Dakota, Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota,

             23
                  CB IRP Compl. ¶ 29.
             24
               CB IRP Compl. ¶ 222; DG IRP Compl. ¶ 170; DV IRP Compl. ¶ 195; DX IRP Compl. ¶ 249; EC IRP
     Compl. ¶ 160; PV IRP Compl. ¶ 185.



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        Tennessee, Texas, Utah, Vermont, Virginia, Washington, West Virginia,
        Wisconsin and Wyoming as well as the District of Columbia, Puerto Rico, and the
        U.S. Virgin Islands.25

        C.         DEFENDANTS

        Moving Defendants, alleged manufacturers of the Group 1 drugs,26 are identified at

length in the Court’s October 16, 2018 Opinion and will not be thoroughly inventoried here.27

Group 1 Defendants are alleged to be incorporated in the following states: Colorado (Sandoz),

Delaware (Actavis, Glenmark, Impax, Heritage, Hi-Tech Pharmacal, Lannett, Lupin, Mayne,

Morton Grove, Perrigo, Taro, Teligent, Teva, West-Ward, Wockhardt), Florida (Apotex),

Louisiana (Akorn), Michigan (Sun), New Jersey (Dr. Reddy’s, Zydus), New York (Fougera,

Par), Pennsylvania (Mylan, Inc.), and West Virginia (Mylan Pharmaceuticals). They are alleged

to have principal places of business in: California (Impax), Florida (Apotex), Illinois (Akorn,

Morton Grove), Maryland (Lupin), New Jersey (Actavis, Dr. Reddy’s, Glenmark, Heritage,

Sandoz, Sun, Teligent, West-Ward, Wockhardt, Zydus), New York (Fougera, Hi-Tech

Pharmacal, Par, Perrigo, Taro), North Carolina (Mayne), Pennsylvania (Lannett, Teva), and West

Virginia (Mylan Defendants). Group 1 EPPs and IRPs allege that during the class period

Group 1 Defendants sold the Group 1 drugs to purchasers throughout the United States.28

        In their complaints, Group 1 Plaintiffs allege that: “Defendants’ and their co-

conspirators’ conduct, including the marketing and sale of [the relevant Group 1 drug], took

        25
           CB IRP Compl. ¶ 222 n.88; DG IRP Compl. ¶ 170 n.91; DV IRP Compl. ¶ 195 n.68; DX IRP Compl. ¶
249 n.97; EC IRP Compl. ¶ 160 n.88; PV IRP Compl. ¶ 185 n.88.
        26
           No Defendant named in a Group 1 case is alleged to have manufactured all the pharmaceutical products
included in the Group 1 cases. Several of the Defendants named in the Group 1 cases are alleged to have
manufactured only one relevant pharmaceutical product, while others are alleged to have manufactured two or more
of the pharmaceutical products included in this MDL.
        27
             In re Generic, 338 F. Supp. 3d at 417–20.
        28
             See, e.g., CB EPP Compl. ¶¶ 42-50; PV IRP Compl. at ¶¶ 42-47.



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place within, has had, and was intended to have, a direct, substantial, and reasonably foreseeable

anticompetitive effect upon interstate commerce within the United States”29; and/or that:

        Defendants’ anticompetitive conduct occurred in part in trade and commerce within
        the states and territories set forth herein, and also had substantial intrastate effects
        in that, inter alia, drug wholesalers within each state and territory were foreclosed
        from offering less expensive generic [the relevant Group 1 drug] to Plaintiffs inside
        each respective state and territory. The foreclosure of these less expensive generic
        products directly impacted and disrupted commerce for Plaintiffs within each state
        and territory and forced Plaintiffs to pay supracompetitive prices.30

        Group 1 EPPs and IRPs allege that “Defendants engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation the state consumer

protection and unfair competition statutes” of various states.31 They also allege that Group 1

Defendants benefitted from their alleged conduct and that Defendants have been “enriched by

revenue resulting from overcharges for” the Group 1 drugs while “Plaintiffs have been

impoverished by the overcharges they paid for [the Group 1 drugs] imposed through Defendants’

unlawful conduct.”32

II.     DISCUSSION

        Group 1 Defendants move to dismiss the state law claims brought by the Group 1 EPPs




        29
          CB EPP Compl. ¶ 61; DG EPP Compl. ¶ 49; DV EPP Compl. ¶ 46; DX EPP Compl. ¶ 59; EC EPP
Compl. ¶ 44; PV EPP Compl. ¶ 53; DV IRP Compl. ¶ 34; DX IRP Compl. ¶ 48.
          30
             CB EPP Compl. ¶ 62; DG EPP Compl. ¶ 50; DV EPP Compl. ¶ 47; DX EPP Compl. ¶ 60; EC EPP
Compl. ¶ 45, PV EPP Compl. ¶ 54; CB IRP Compl. ¶ 54; DG IRP Compl. ¶ 46; EC IRP Compl. ¶ 43; PV IRP
Compl. ¶ 51. The Court notes that the divalproex ER IRP and doxycycline IRP complaints do not include this
intrastate commerce allegation.
        31
          CB EPP Compl. ¶ 287; DG EPP Compl. ¶ 255; DV EPP Compl. ¶ 253; DX EPP Compl. ¶ 287; EC EPP
Compl. ¶ 260, PV EPP Compl. ¶ 307; CB IRP Compl. ¶ 279; DG IRP Compl. ¶ 227; DV IRP Compl. ¶ 252; DX
IRP Compl. ¶ 316; EC IRP Compl. ¶ 217; PV IRP Compl. ¶ 242.
        32
           CB EPP Compl. ¶¶ 321-24; DG EPP Compl. ¶¶ 289-92; DV EPP Compl. ¶¶ 287-90; DX EPP Compl.
¶¶ 321-24; EC EPP Compl. ¶¶ 294-97, PV EPP Compl. ¶¶ 341-44; CB IRP Compl. ¶¶ 304-07; DG IRP Compl.
¶¶ 252-55; DV IRP Compl. ¶¶ 277-80; DX IRP Compl. ¶¶ 441-44; EC IRP Compl. ¶¶ 242-45; PV IRP
Compl.¶¶ 267-70.



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and IRPs. They argue that Group 1 EPPs’ and IRPs’ claims under the laws of those states or

territories in which they do not reside or allege to have reimbursed purchases for Group 1 drugs

should be dismissed for lack of Article III standing. Defendants also argue that Group 1 EPPs’

and IRPs’ state antitrust, consumer protection, and unjust enrichment claims suffer from a

variety of state specific pleading failures. Finally, they assert that many of the Group 1 EPPs’

and IRPs’ state law claims are barred by applicable statutes of limitations. The Court considers

Group 1 Defendants’ arguments in turn.

       A.          ARTICLE III STANDING

       To the extent that Group 1 Defendants seek to dismiss certain of the EPP and IRP state

law claims for failure to allege facts sufficient to establish Article III standing, Rule 12(b)(1) of

the Federal Rules of Civil Procedure applies to their motions “because standing is a jurisdictional

matter.”33 Article III of the Constitution requires Plaintiffs to have standing in order to assert

their claims.34 To sufficiently allege constitutional standing, Plaintiffs must allege three

elements: (1) injury-in-fact: an invasion of a legally protected interest that is “concrete and

particularized” and “actual or imminent” (not merely “conjectural” or “hypothetical”);

(2) causation: an injury which is fairly traceable to the challenged conduct; and

(3) redressability: that it is “‘likely,’ as opposed to merely ‘speculative,’ that the injury will be

‘redressed by a favorable decision.’”35 Where a complaint fails to satisfy these requirements, the

federal court does not have subject matter jurisdiction and the claims must be dismissed.36



       33
            Ballentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007).
       34
            See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).
       35
            Id. at 561.
       36
            Taliaferro v. Darby Twp. Zoning Bd., 458 F.3d 181, 188 (3d Cir. 2006).



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Because Group 1 EPPs and IRPs have invoked this Court’s federal jurisdiction over their state

law claims, they bear the burden of establishing the elements required for Article III standing. 37

When considering a 12(b)(1) motion, the Court “review[s] only whether the allegations on the

face of the complaint, taken as true, allege sufficient facts to invoke the jurisdiction of the district

court.”38

         Group 1 Defendants contend Group 1 EPPs and IRPs lack Article III standing to pursue

claims under the laws of the jurisdictions where the named Plaintiffs have not specifically

alleged purchases or reimbursements.39 “[W]hen the issue presented in a motion to dismiss

concerns solely whether the named plaintiffs have standing to assert class action claims, the

named plaintiffs’ standing is a threshold issue, and there is no reason to defer the named

plaintiffs’ standing determination until class certification.”40 Here, Group 1 Defendants do not

dispute that Group 1 EPPs and IRPs have standing to pursue claims under the laws of those

jurisdictions where they paid for the generic drugs at issue. No named Plaintiff seeks relief for

itself under the laws of a jurisdiction where it would not have standing. Rather, the Group 1 EPP


         37
              Lujan, 504 U.S. at 561.
         38
              Licata v. U.S. Postal Serv., 33 F.3d 259, 260 (3d Cir. 1994).
         39
            See, e.g., CB Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 20 (arguing that EPPs lack
standing to assert their claims under the laws of Alaska and the U.S. Virgin Islands because they “do not claim to
have resided in, nor to have purchased or made reimbursements for Clobetasol in” those jurisdictions); CB Defs’
Mem. in Support of Defs.’ Mot. to Dismiss IRP Compl. at 11 (arguing IRPs only have standing to bring claims
under the laws of California, Florida, Mississippi, New York, Tennessee, and Wisconsin); DV Defs.’ Mem. in
Support of Mot. to Dismiss EPP Compl. at 11 (arguing EPPs do not have standing to bring claims in Vermont and
the U.S. Virgin Islands because they “do not claim to have resided in, or purchased or made reimbursements for
Divalproex in” those jurisdictions); DV Mem. in Support of Defs.’ Mot. to Dismiss IRP Compl. at 14 (arguing that
“all of Plaintiffs’ state law claims except those that arise under California, Florida, Mississippi, New York,
Tennessee, and Wisconsin law must be dismissed” because “Plaintiffs do not claim to have purchased Divalproex in
any state or territory other than the six states in which they are residents”).
         40
            In re Processed Egg Prods. Antitrust Litig., 851 F. Supp. 2d 867, 882, n.11 (E.D. Pa. 2012) (emphasis
added); see also In re Flonase Antitrust Litigation, 692 F. Supp. 2d 524, 534 (E.D. Pa. 2010) (finding no reason to
defer the standing determination until after class certification because “[n]amed plaintiffs must have case or
controversy standing”).



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and IRP complaints include “a mixture of state law claims only because [Plaintiffs] bring [each

action] as a proposed class action.”41

         As one court has explained, “[t]he interplay between Article III standing and class

standing presents a surprisingly difficult question.”42 “Courts have taken different views about

how to evaluate Article III and class standing at the motion to dismiss stage where putative class

representatives assert claims arising under the laws of states where they neither reside nor allege

to have suffered injury.”43 The Third Circuit has not definitively answered this question. In

Neale v. Volvo Cars of North America, LLC,44 the Court of Appeals did caution that “[r]equiring

individual standing of all class members would eviscerate the representative nature of the class

action.” It explained that it was “not persuaded” that it should “adopt the approach taken by

some of [its] sister courts that require all class members to possess standing.”45 It held that “so

long as a named class representative has standing, a class action presents a valid ‘case or

controversy’ under Article III.”46

         In this District, the decision in In re: Niaspan Antitrust Litigation concluded that Neale

did not “affect the requirement that plaintiff must establish standing individually with respect to




         41
              In re Polyurethane Foam Antitrust Litig., 799 F. Supp. 2d 777, 806 (N.D. Ohio 2011).
        42
           In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., No. 14-md-2503, 2015 WL 5458570, at *13
(D. Mass. Sept. 16, 2015).
         43
              Id. at *14.
         44
              794 F.3d 353, 367 (3d Cir. 2015).
         45
              Id. at 365.
         46
            Id. at 369; see also Mielo v. Steak ‘n Shake Operations, Inc., 897 F.3d 467, 478 (3d Cir. 2018) (quoting
Neale, 794 F.3d at 368); see also In re Liquid Aluminum Sulfate Antitrust Litig., No. 16-md-2687, 2017 WL
3131977, at *19 (D.N.J. July 20, 2017) (“reject[ing] Defendants’ argument that the named IPP Plaintiffs lack
standing to bring state law claims under the laws of a state in which they do not reside”).



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each claim asserted,”47 citing “prior decisions in this district and others [that] have ruled that

named plaintiffs in an antitrust class action lack standing to bring claims on behalf of putative

classes under the laws of states where no named plaintiff is located and where no named plaintiff

purchased the product at issue.”48 Before Neale, a prior decision in the same litigation had

explained that “deferring this standing determination would allow named plaintiffs in a proposed

class action, with no injuries in relation to the laws of certain states referenced in their complaint,

to embark on lengthy class discovery with respect to injuries in potentially every state in the

Union.”49

         But other courts, including some in this Circuit, have taken a different view. In the case

In re Liquid Aluminum Sulfate Antitrust Litigation, the District of New Jersey rejected the

defendants’ argument that the named plaintiffs “lack[ed] standing to bring state law claims under

the laws of a state in which they do not reside.”50 The Court explained that “class certification . .

. is ‘logically antecedent’ to the issue of standing. This is because class discovery will unveil the

various members of the currently unknown class.”51 Similarly, in the In re Chocolate

Confectionary Antitrust Litigation, the Middle District of Pennsylvania found that because “the

plaintiffs’ attempt to represent the proposed class” gave rise to the question of whether they had



         47
              No. 13-md-2460, 2015 WL 8150588, at *3 (E.D. Pa. Dec. 8, 2015).
          48
             Id. (citation omitted); see also In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust
Litig., 64 F. Supp. 3d 665, 694 (E.D. Pa. 2014) (“The fact that this is a class action should not change the analysis
for even named plaintiffs who represent a class must allege and show that they personally have been injured, not that
injury has been suffered by other, unidentified members of the class to which they belong and which they purport to
represent.”) (internal quotation marks and citation omitted).
         49
           In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 758 n.20 (E.D. Pa. 2014) (internal quotation and
citations omitted).
         50
              No. 16-md-2687, 2017 WL 3131977, at *19 (D.N.J. July 20, 2017).
         51
              Id.



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standing to represent individuals from other states, the question of class certification was

“‘logically antecedent’ to the standing concerns” and the Court declined to rule on the issue

“until class certification proceedings.”52

         Group 1 “Defendants are not challenging [EPPs’ or IRPs’] standing to bring their own

claims; they are challenging their standing to bring claims on behalf of the class.”53 It matters

that this issue arises in the context of a class action. In a recent decision in a putative class action

asserting claims under the Americans with Disabilities Act, where the named plaintiffs sought to

require the defendant “to correct alleged ADA violations at more than the two restaurant

locations where they claim[ed] to have actually experienced injury,” the Third Circuit rejected

the defendants’ “invitation to insert Rule 23 issues into [its] inquiry on standing,” and explained

that “the standing inquiry must be limited to a consideration of the class representatives

themselves, after which [the court] may ‘employ Rule 23 to ensure that classes are properly

certified.’”54

         Similarly, the Second Circuit has explained that:

         Since class action plaintiffs are not required to have individual standing to press
         any of the claims belonging to their unnamed class members, it makes little sense
         to dismiss the state law claims of unnamed class members for want of standing
         when there was no requirement that the named plaintiffs have individual standing
         to bring those claims in the first place.55


         52
              602 F. Supp. 2d 538, 579–80 (M.D. Pa. 2009).
         53
             In re Loestrin 24 FE Antitrust Litig., 261 F. Supp. 3d 307, 359 (D.R.I. 2017) (holding that where the
scheme and injury alleged by the plaintiffs was “the same across the country” and the plaintiffs had “a collective
interest in litigating their claims together to attempt to recover,” the “question would be appropriately, and more
efficiently, addressed at the class certification stage”).
         54
              Mielo, 897 F.3d at 480 (quoting Neale, 794 F.3d at 368).
          55
             Langan v. Johnson & Johnson Consumer Cos., Inc. 897 F.3d 88, 95 (2d Cir. 2018); cf. In re Thalomid &
Revlimid Antitrust Litig., No. 14–6997, 2015 WL 9589217, at *19 (D.N.J. Oct. 29, 2015) (holding the defendants’
“attack on plaintiffs’ standing to pursue state law claims on behalf of absent class members is not an Article III
jurisdictional issue”).



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It held that “whether a plaintiff can bring a class action under the state laws of multiple states is a

question of predominance under Rule 23(b)(3), not a question of standing.”56 And yet another

court has concluded that:

        there is no constitutional imperative that the named plaintiff himself have a valid
        claim under every legal theory he proposes to assert on behalf of a class. . . . If
        such a requirement exists, it is the consequence of the class-certification
        prerequisites imposed by Rule 23 of the Federal Rules of Civil Procedure, not of
        Article III.57

        Even more recently, the First Circuit explained that:

        the question of standing is not: Are there differences between the claims of the class
        members and those of the class representative? Rather, the pertinent question is:
        Are the differences that do exist the type that leave the class representative with an
        insufficient personal stake in the adjudication of the class members’ claims?58

The First Circuit explained the plaintiffs had successfully stated a basis for Article III standing

where “success on the claim under one state’s law will more or less dictate success under another

state’s law” and the “laws are materially the same,” such that “the fact that judgments for some

class members will nevertheless enter under the laws of states other than the states under which

any of the class representatives’ judgments will enter . . . has no relevant bearing on the personal

stake of the named plaintiffs in litigating the case[.]”59 The court observed that “[i]n a properly

certified class action, the named plaintiffs regularly litigate . . . claims of other class members

based on transactions in which the named plaintiffs played no part.”60




        56
             Langan, 897 F.3d at 96.
        57
          Muir v. Nature’s Bounty (DE), Inc., No. 15-9853, 2018 WL 3647115, at *7 (N.D. Ill. Aug. 1, 2018)
(emphasis omitted).
        58
             In re Asacol Antitrust Litig., 907 F.3d 42, 49 (1st Cir. 2018).
        59
             Id.
        60
             Id. at 50 (internal quotation marks and citation omitted).



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         Group 1 EPPs’ and IRPs’ allegations are sufficient to demonstrate a substantial and

shared interest in proving that Group 1 Defendants’ alleged unlawful conduct resulted in

overpayments for the Group 1 drugs, injuries redressable by an award of damages under the state

antitrust, consumer protection and unjust enrichment laws cited in the Group 1 EPP and IRP

complaints.61 Because the state law claims of the named Group 1 EPPs and IRPs largely parallel

those of the putative class members, it is both proper and more efficient to consider whether they

may pursue their claims on behalf of the unnamed class members in the context of the class

certification analysis required under Rule 23 of the Federal Rules of Civil Procedure (e.g.,

commonality and typicality under 23(a), and predominance under 23(b)). Therefore, Group 1

EPPs’ and IRPs’ claims on behalf of absent class members will not be dismissed for lack of

Article III standing.

         B.         FAILURE TO STATE A CLAIM

         To the extent that Group 1 Defendants seek to dismiss certain of the Group 1 EPP and

IRP state law claims for failure state a claim pursuant to certain state laws, Rule 12(b)(6) of the

Federal Rules of Civil Procedure applies to their motions. Rule 12(b)(6) provides for dismissal

of a complaint for failure to state a claim upon which relief can be granted where a plaintiff’s

“plain statement” lacks enough substance to show that he is entitled to relief.62 To withstand

dismissal, the complaint must set forth “direct or inferential allegations respecting all the

material elements necessary to sustain recovery under some viable legal theory.”63 On a motion


         61
            Cf. In re Remicade Antitrust Litig., 345 F. Supp. 3d 566, 585 (E.D. Pa. 2018) (declining to block class
standing on a motion to dismiss where the named indirect purchaser plaintiffs did not specifically allege they had
made payments or reimbursements in every state where they asserted state law claims, explaining that “since
Plaintiffs cover beneficiaries in numerous other states, they face an imminent threat of injury in fact in those states
as well”).
         62
              Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007).
         63
              Id. at 562 (internal quotation marks and citations omitted).


                                                             18
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to dismiss, the Court “consider[s] plausibility, not probability.”64 In other words, Plaintiffs are

not required “to plead facts that, if true, definitely rule out all possible innocent explanations.”65

The Court must ordinarily consider only those facts alleged in the complaint, accepting the

allegations as true and drawing all logical inferences in favor of the non-moving party.66 In

addition, “courts may consider documents integral to or explicitly relied upon in the

complaint . . . or any undisputedly authentic document that a defendant attaches as an exhibit to a

motion to dismiss if the plaintiff’s claims are based on the document.”67 Courts are not, however,

bound to accept as true legal conclusions couched as factual allegations.68

                    1.       STATE ANTITRUST CLAIMS

         Group 1 Defendants argue that many of Group 1 EPPs’ and IRPs’ state antitrust claims

should be dismissed for failure to state a claim. To the extent that Group 1 Defendants contend

the state antitrust claims should be dismissed because the EPPs and IRPs have not stated a claim

under the overlapping federal antitrust laws, the motions fail. The Court has already determined

that Group 1 Plaintiffs’ allegations (with the exception of their allegations against Telligent) 69




         64
           In re Lipitor Antitrust Litig., 868 F.3d 231, 260 (3d Cir. 2017); see also Twombly, 550 U.S. at 570
(holding that a plaintiff must allege “enough facts to state a claim to relief that is plausible on its face”).
         65
              In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 753 (E.D. Pa. 2014).
         66
              ALA, Inc. v. CCAIR, Inc., 29 F.3d 855, 859 (3d Cir. 1994).
         67
            In re Asbestos Prods. Liab. Litig. (No. VI), 822 F.3d 125, 133 n.7 (3d Cir. 2016) (emphasis in original)
(brackets, internal quotation marks and citations omitted).
         68
              Twombly, 550 U.S. at 555, 564.
         69
            The Court’s October 16, 2018 decision dismissed the Sherman Act claims of the econazole DPPs, EPPs,
and IRPs against defendant Teligent, Inc. and permitted them to seek leave to amend their claims in accordance with
the provisions of Pretrial Order No. 51. Econazole EPPs and IRPs filed consolidated amended class action
complaints on December 20 and 21, 2018, respectively. The Court does not here consider the sufficiency of the
allegations in the amended econazole complaints, having reserved judgment with respect to the motions to dismiss
EPPs’ and IRPs’ state law claims for this later decision.



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are sufficient to permit their federal antitrust claims to withstand dismissal.70 Also, the Group 1

EPPs and IRPs have alleged a basis for antitrust standing, the Court having held that they have

sufficiently pled “that they have suffered harm that is an essential component of Defendants’

anticompetitive scheme, as opposed to an ancillary byproduct of it.”71

         The Court considers Defendants’ state specific arguments regarding the sufficiency of

Group 1 EPPs and IRPs state law antitrust claims below. Some of the arguments apply to all or

most of such claims, others to subsets, and still others to the laws of individual states.

                              a.       Class Action Bar: Illinois Antitrust Act

         Group 1 Defendants argue that EPPs and IRPs cannot bring class claims under the Illinois

Antitrust Act. The statute provides that “no person shall be authorized to maintain a class action

in any court of this State for indirect purchasers asserting claims under this Act, with the sole

exception of this State’s Attorney General.”72 “District courts are divided on whether the Illinois

Antitrust Act precludes indirect purchasers from filing class actions”73 and the Third Circuit has



          70
             See In re Generic Pharm. Pricing, 338 F. Supp. 3d at 454. Defendants concede that federal antitrust law
is “either determinative or highly persuasive with respect to [its] state law analogues.” Defs.’ Mem. in Support of
Mot. to Dismiss CB EPP Compl. at 15; Defs.’ Mem. in Support of Mot. to Dismiss DX EPP Compl. at 11 (same);
see also Defs.’ Mem. in Support of Mot. to Dismiss. DV EPP Compl. at 10 (“Courts . . . regularly dismiss state law
antitrust claims when dismissing Sherman Act claims based on the same allegations.”); Defs.’ Mem. in Support of
Mot. to Dismiss EC IRP Compl. at 4 (same); Defs.’ Mem. in Support of Mot. to Dismiss DG EPP Compl. at 8
(“State claims brought in federal court must meet federal pleading standards.”); Defs.’ Mem in Support of Mot. to
Dismiss CB IRP Compl. at 21 (“the antitrust laws of each of the jurisdictions at issue in Count II have been
construed in harmony with federal antitrust laws”); Defs.’ Mem. in Support of Mot. to Dismiss PV IRP Compl. at 5,
(citing Rick-Mik Enters., Inc. v. Equilon Enters., LLC, 532 F.3d 963, 976 n.5 (9th Cir. 2008) (“[S]tate law antitrust
claims are derivative of the federal law claims. Because the federal claims fail, the state law claims fail.”)).
         71
              In re Generic Pharm. Pricing, 338 F. Supp. 3d at 457 (internal quotation and citation omitted).
         72
              740 Ill. Comp. Stat. 10/7(2).
          73
             In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 417 (D.N.J. 2018). Compare In re Propranolol
Antitrust Litig., 249 F. Supp. 3d 712, 728 (S.D.N.Y. 2017) (holding that the statute is a “state procedural rule [that]
does not control in federal court, where Rule 23 sets the only relevant requirements to file a class action”) with In re
Lipitor, 336 F. Supp. 3d at 418 (holding that “the language of the [Illinois] Act presents a substantive conflict with
Rule 23”).



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not had to resolve this question. Federal courts sitting in diversity jurisdiction must utilize

federal procedural law and state substantive law.74 If the Illinois statute is substantive in nature,

it applies, and must be followed here.75 However, “there is no bright line between procedural

and substantive law, and thus, the distinction is difficult to determine.”76

         Group 1 Defendants argue that the Illinois “restriction on indirect purchaser class actions

is substantive, represents a policy judgment as to the feasibility of managing duplicative

recovery, which the [Illinois] legislature has entrusted to the [State] Attorney General but not to

individual indirect purchasers, and therefore must be applied in federal court.”77 Group 1 EPPs

respond that “the class action bar is not part of Illinois’ framework of substantive rights and

remedies,” because Rule 23 of the Federal Rules of Civil Procedure, the rule governing class

actions is, “merely a procedural mechanism that affects how those claims proceed in federal

court.”78 Likewise, Group 1 IRPs assert that the Illinois Antitrust Act class action bar is a

“procedural limitation” that does not apply because they “filed in federal court and bring a class

action under Rule 23 . . . .”79

         The prevailing view of the District Courts that have considered this issue within this




         74
              Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938).
         75
            See Shady Grove Orthopedic Ass’n v. Allstate Ins. Co., 559 U.S. 393, 419 (2010) (“the balance Congress
has struck turns, in part, on the nature of the state law that is being displaced by a federal rule”) (Stevens, J.
concurring); see also In re Wellbutrin XL Antitrust Litig., 756 F. Supp. 2d 670, 675 (E.D. Pa. 2010) (explaining that
the five justices in the concurrence and the dissent in Shady Grove “concluded that the validity of Federal Rules of
Civil Procedure turns, in part, on the rights afforded by the state rule that the Federal Rule displaces”).
         76
              In re Lipitor, 336 F. Supp. 3d at 414.
         77
              See PV Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 18 (internal quotations and citations
omitted).
         78
              See PV EPP Opp. Br. at 26-27 (internal quotations and citations omitted).
         79
              See PV IRP Opp. Br. at 16.



                                                           21
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Circuit is that the Illinois Antitrust Act prohibits indirect purchaser class actions.80 Under the

Supreme Court’s decision in Shady Grove Orthopedic Association v. Allstate Insurance Co.,

state procedural rules control in federal court when they are “part of a State’s framework of

substantive rights or remedies.”81 The Court is persuaded that “the indirect purchaser restrictions

of the [Illinois Antitrust Act] are ‘intertwined’ with the underlying substantive right,” and, as a

result “application of Rule 23 would ‘abridge, enlarge or modify’ Illinois’ substantive rights.”82

Accordingly, the Court will dismiss with prejudice Group 1 EPPs’ and IRPs’ claims under the

Illinois Antitrust Act.

                           b.        Pre-Suit Notice Requirements

         The antitrust laws of Arizona, Hawaii, Nevada, and Utah have pre-filing notice

requirements obligating any antitrust plaintiff to serve certain state officials with pre-suit notices

in order to pursue their claims.83 Group 1 Defendants argue that the clobetasol, digoxin,

divalproex, econazole and pravastatin EPPs’ Arizona, Hawaii, Nevada, and Utah antitrust claims

and the clobetasol, divalproex, econazole, and pravastatin IRPs’ Arizona, Nevada, and Utah



         80
           See In re Wellbutrin, 756 F. Supp. 2d at 677 (“The Illinois restrictions on indirect purchaser actions are
intertwined with Illinois substantive rights and remedies because (1) the restrictions apply only to the [Illinois
Antitrust Act], (2) they are incorporated in the same statutory provision as the underlying right, not a separate
procedural rule, and (3) the restrictions appear to reflect a policy judgment about managing the danger of duplicative
recoveries.”); In re Effexor Antitrust Litig., No. 11-5661, 2018 WL 6003893, at *16 (D.N.J. Nov. 15, 2018) (“The
language of the Act presents a substantive conflict with Rule 23; as such, since the Illinois Antitrust Act controls the
Court finds that EPPs lack standing to assert claims under the Act and, therefore, dismisses this claim with
prejudice.”); In re Lipitor, 336 F. Supp. 3d at 418 (same).
         81
           559 U.S. at 419 (Stevens, J., concurring); see also In re Opana ER Antritrust Litig., 162 F. Supp. 3d 704,
723 (N.D. Ill. 2016).
         82
             In re Wellbutrin, 756 F. Supp. 2d at 677; but see Contant v. Bank of Am. Corp., No. 17-3139, 2018 WL
5292126, at *12 (S.D.N.Y. Oct. 25, 2018) (holding that the Illinois Antitrust Act, “which applies exclusively to
antitrust class actions” must be procedural if the state statute considered in Shady Grove was found to not “abridge,
enlarge or modify any substantive right” even though it “foreclosed a wide range of potential class actions”).
         83
          See Ariz. Rev. Stat. § 44-1415(A); Haw. Rev. Stat § 480-13.3; Nev. Rev. Stat. Ann. § 598A.210(3); Utah
Code Ann. § 76-10-3109(9).



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antitrust claims must be dismissed because the relevant plaintiffs have not sufficiently alleged

that they met each state’s pre-suit notice requirement. The relevant EPPs respond that they “did

send notices as required” and submit a declaration in support of their efforts to provide the notice

required under each of the relevant state laws.84 The relevant IRPs assert that defendants “had

notice of the incoming IRP complaints long before they were served” and “are in no way

prejudiced by the IRP’s omission of an allegation that notice was provided.”85 Group 1 Plaintiffs

also contend that their “adherence to the notice requirements is not mandatory because the states’

procedural rules are superseded by federal procedural rules.”86 Group 1 Defendants counter that

compliance with the notice requirements should not be excused under Shady Grove.87

         With respect to the Shady Grove issue, there is no consensus regarding whether the cited

notice requirements are “substantive” or “procedural.” To the extent that the relevant statutory

provisions have been considered, some have concluded that the provisions are mandatory and

that declining to follow them “‘in federal court would encourage forum shopping and the




           84
              See CB EPP Opp. Mem. at 28 (citing CB EPP Opp. Mem. App’x H). In deciding whether EPPs have
sufficiently alleged compliance with the relevant notice requirements, the Court cannot consider EPPs’ declaration,
as it is not part of their complaints, an exhibit attached thereto, or a matter of public record. See In re Asbestos
Prods. Liab. Litig. (No. VI), 822 F.3d 125, 133 n.7 (3d Cir. 2016) (“courts may consider documents integral to or
explicitly relied upon in the complaint . . . or any undisputedly authentic document that a defendant attaches as an
exhibit to a motion to dismiss if the plaintiff’s claims are based on the document”) (brackets, internal quotation
marks, and citations omitted).
          85
             See PV IRP Opp. Mem. at 16. The relevant question is not whether Defendants have been prejudiced by
any failure to follow the statutorily required notice procedures. As Defendants argue, the purpose of the statutory
rules is not to give notice to Defendants, but to inform the relevant state attorney general so they may decide
whether to intervene or otherwise proceed with the claim. See DV Defs.’ IRP Reply Br. at 7-8.
         86
            CB EPP Opp. Mem. at 28-29; see also PV IRP Opp. Mem. at 16 (“Pre-suit or post-suit notice is not an
element required to state a claim but instead a procedural rule superseded by the Federal Rules of Civil Procedure.”)
(citation omitted).
        87
           See DV Defs.’ IRP Reply Br. at 6-7 (“several post-Shady Grove courts in this district and elsewhere have
dismissed federal class actions for failure to comply with demand letter requirements, noting that the requirement is
not merely a procedural nicety, but, rather, a prerequisite to suit”) (citation and internal quotations omitted).



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inequitable administration of laws.’”88 Others have found they are not sufficiently a part of the

relevant States’ framework of substantive rights or remedies to be controlling.89 Regardless of

whether the relevant notice provisions are substantive or procedural, they do not alter the

substantive elements of Plaintiffs’ claims and are not a pleading requirement for the Complaints.

Therefore, this argument is not a basis for dismissal of EPPs or IRPs state antitrust claims.

                           c.        Intrastate Conduct

         Group 1 Defendants challenge the sufficiency of certain Group 1 EPPs’ and IRPs’ claims

under the antitrust laws of the District of Columbia, Hawaii, Illinois90, Kansas, Maine,

Minnesota, Nebraska, Nevada, New Mexico, New York, North Carolina, North Dakota, Oregon,

South Dakota, Tennessee, West Virginia and Wisconsin, arguing the laws require Plaintiffs to

allege a nexus between Defendants’ conduct and intrastate commerce.91 Group 1 Defendants


         88
           In re Effexor Antitrust Litig., 2018 WL 6003893, at *13 (quoting In re Asacol Antitrust Litig., No. 15-
12730, 2016 WL 4083333, at *15 (D. Mass. July 20, 2016)); see also In re Chocolate Confectionary Antitrust Litig.,
749 F. Supp. 2d 224, 232 (M.D. Pa. 2010) (finding failure to comply with Hawaii notice requirement “warrants
dismissal”).
         89
             See In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., No. 18-2819, 2018 WL
5928143, at *6 (E.D.N.Y. Nov. 13, 2018) (“Hawaii’s law regulates only when private plaintiffs can litigate the case.
It does not alter the substantive elements of plaintiffs’ claims.”); In re Propranolol, 249 F. Supp. 3d at 728 n. 24
(dismissal not required for failure to comply with Hawaii’s procedural notice rule); In re Broiler Chicken Antitrust
Litig., 290 F. Supp. 3d 772, 817 (N.D. Ill. 2017) (declining to dismiss Arizona antitrust claim notwithstanding late
notice to attorney general); In re Aggrenox Antitrust Litig., 94 F. Supp. 3d 224, 254 (D. Conn. 2015) (declining to
dismiss based on the plaintiffs’ failure to plead compliance with the notice requirements of the Hawaii antitrust
statute); In re Aftermarket Filters Antitrust Litig., No. 08-4883, 2009 WL 3754041, at *6 (N.D. Ill. Nov. 5, 2009)
(finding the Hawaii antitrust “statute does not provide for dismissal of the action for failure to comply [with the pre-
suit notice requirement], and that dismissal is inconsistent with the remedial purposes of the statute”).
         90
           Because the Court has already found that Plaintiffs cannot state a claim under the Illinois Antitrust Act, it
need not consider Group 1 Defendants’ intrastate conduct arguments regarding Group 1 Plaintiffs’ Illinois antitrust
claims.
         91
           See EPPs’ Response to Defendants’ Antitrust Intrastate Effects Appendices. See also CB Defs.’ Mem. in
Support of Mot. to Dismiss EPP Compl. at 22; DG Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 21;
DV Defs’ Mem. in Support of Mot. to Dismiss EPP Compl. at 18; DX Defs’ Mem. in Support of Mot. to Dismiss
EPP Compl. at 21; EC Defs’ Mem. in Support of Mot. to Dismiss EPP Compl. at 14; PV Defs’ Mem. in Support of
Mot. to Dismiss EPP Compl. at 20; CB Defs.’ Mem. in Support of Mot. to Dismiss IRP Compl. at 27; DG Defs.’
Mem. in Support of Mot. to Dismiss IRP Compl. at 17-18; DV Defs’ Mem. in Support of Mot. to Dismiss IRP
Compl. at 18-19; DX Defs’ Mem. in Support of Mot. to Dismiss IRP Compl. at 20; EC Defs’ Mem. in Support of
Mot. to Dismiss EPP Compl. at 10-11; PV Defs’ Mem. in Support of Mot. to Dismiss IRP Compl. at 19-20.


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contend that the relevant state antitrust claims should be dismissed because Group 1 EPPs’ and

IRPs’ complaints lack specific allegations connecting Group 1 Defendants’ alleged conduct to

each state where they raise a state antitrust claim and instead include only conclusory allegations

that Group 1 Defendants’ alleged conduct “substantially affected” the commerce of each relevant

state.92 Group 1 Defendants assert that the Group 1 EPPs’ allegations do not allow the Court to

“assess whether the conduct had an incidental or substantial effect – if any at all – on the states

under which the EPPs bring their claims.”93 Similarly, they argue that the Group 1 IRPs’

allegations of a nationwide conspiracy with “conclusory and identical allegations for each state,

including unspecific assertions that the conspiracy restrained competition, raised prices, and

substantially affected commerce in that state” are not enough to plead a substantial effect on

intrastate commerce.94

         Group 1 EPPs respond that to withstand dismissal, no more is needed than their

allegations that class members made purchases of the Group 1 drugs at supracompetitive prices

within the states relevant to their state law claims.95 They argue that “[s]tate statutes do not

require that the anticompetitive conduct (i.e., the act of conspiring) occur within the state, so

long as the adverse effects are felt within the state. Moreover, the alleged effects need not occur

entirely or even predominately within a state to meet the requirement.”96 Similarly, Group 1



         92
              See, e.g., PV Defs’ Mem in Support of Mot. to Dismiss EPP Compl. at 20.
         93
              Id.
         94
            PV Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at 19; see also CB Defs’ Mem in Support of
Mot. to Dismiss IRP Compl. at 13-14 (arguing the clobetasol IRPs’ state antitrust claims should be dismissed where
“IRPs fail to allege that any conspiratorial conduct actually transpired in any of the [relevant] jurisdictions, nor do
they provide anything other than boilerplate legal conclusions that the alleged price-fixing substantially affected
markets in these jurisdictions”).
         95
              See PV EPP Opp. Mem. at 30.
         96
              CB EPP Opp. Mem. at 29.


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IRPs argue that “there can be no question that it is at least plausible that each of the [relevant]

states suffered a substantial effect on commerce within its borders” where they have alleged that

“wholesalers, pharmacies, patients and their health plans were all illegally overcharged for

generic drugs” as a result of Group 1 Defendants’ alleged conduct.97

         Other courts have held that plaintiffs sufficiently pled state antitrust claims where they

alleged a “nationwide antitrust violation that increased prices paid by the end payors in each

state,” rejecting an arguments that state law antitrust claims should be dismissed because the

relevant state laws “target only anticompetitive conduct that occurs solely or predominantly

within the borders of the state . . . .”98 At this stage of the litigation, the Court agrees that the

Group 1 EPPs’ and IRPs’ allegations of a broad nationwide-scheme to fix generic drug prices are

enough to satisfy the nexus requirement for asserting claims under the relevant state antitrust

laws.99 “[I]t is not obvious why the intra state effect of anticompetitive conduct would not be



         97
              PV IRP Opp. Mem. at 14.
         98
             In re Solodyn, 2015 WL 5458570, at *16 (declining to dismiss the end payor plaintiffs’ District of
Columbia, Hawaii, Massachusetts, Mississippi, Nevada, New Hampshire, New York, Oregon and West Virginia
antitrust claims).
         99
             See In re Suboxone, 64 F. Supp. 3d at 698–99 (determining similar intrastate effects allegations were
sufficient to permit the plaintiffs’ Mississippi and Nevada antitrust claims to withstand dismissal); In re Liquid
Aluminum Sulfate, 2017 WL 3131977, at *24 (“pleading intrastate conduct and allegations of nationwide price-
fixing satisfies the nexus requirement for asserting claims under” the antitrust statutes of California, the District of
Columbia, Kansas, Nebraska, Nevada, New York, North Carolina, North Dakota, South Dakota, Tennessee, and
West Virginia); In re Chocolate Confectionary Antitrust Litig., 602 F. Supp. 2d at 580–82 (the plaintiffs’ allegations
of a nationwide price-fixing conspiracy were adequate to state a claim under the antitrust laws of Nevada, South
Dakota, Tennessee, West Virginia, and Wisconsin); In re Dig. Music Antitrust Litig., 812 F. Supp. 2d 390, 407–08
(S.D.N.Y. 2011) (nexus requirement satisfied for the District of Columbia, Michigan, South Dakota, Tennessee,
West Virginia, and Wisconsin antitrust laws where the plaintiffs’ complaint alleged the defendants’ “conduct was in
a continuous and uninterrupted flow of intrastate and interstate commerce throughout the United States”) (internal
quotation marks omitted); see also Sheet Metal Workers Local 441 Health & Welfare Plan v. GlaxoSmithKline,
PLC, 737 F. Supp. 2d 380, 397 (E.D. Pa. 2010) (holding that the plaintiffs sufficiently alleged a claim under the
Minnesota antitrust law where they alleged that the defendants’ actions forced purchasers to pay more for a drug
because subsection b of Minn. Stat. § 325D.54 “does not on its face require any substantial in state effect”); In re
New Motor Vehicles Canadian Exp. Antitrust Litig., 350 F. Supp. 2d 160, 172 (D. Me. 2004) (“the New Mexico
antitrust provision makes it crystal clear that only the trade or commerce, not necessarily the conspiracy, must be
within the state” and “further specifies that an effect on, or involvement of, interstate or foreign commerce does not
bar application of the state statute”); In re Microsoft Antitrust Litig., No. 99-709, 2001 WL 1711517, at *1 (Me.


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reached by the cited statutes merely because inter state conduct predominates.”100 Whether EPPs

and/or IRPs will later be able to prove the requisite nexus is a separate question to be addressed

later in this litigation. “The fact-based inquiry can take place after discovery, at summary

judgment.”101

                             d.       Citizenship or Residency Requirements

         Group 1 Defendants argue that certain of the Group 1 EPPs’ and IRPs’ state antitrust law

claims must be dismissed because the relevant state antitrust statutes include citizenship or

residency requirements that Group 1 EPPs and IRPs have not supported with sufficient

allegations.102 Indeed, the Utah Antitrust Act specifies that “[a] person who is a citizen of this

state or a resident of this state” is permitted to bring a claim.103 Group 1 EPPs and IRPs respond


Super. Ct. Mar. 26, 2001) (explaining that “the phrases ‘in this State’ and ‘of this State’ [in the Maine antitrust
statute] modify ‘trade or commerce’ and not the illegal conduct,” supporting a finding that allegations of intrastate
effects are enough to plead a violation of the Maine antitrust statute). But see In re Dealer Mgmt. Sys. Antitrust
Litig., MDL 2817, No. 18-864, 2019 WL 334340, at *25 (N.D. Ill. Jan. 25, 2019) (dismissing the plaintiffs’
Tennessee antitrust law claim where they had “not identified any Tennessee-specific allegations supporting [their]
claim”); In re Cast Iron Soil Pipe & Fittings Antitrust Litig., No. 14-md-2508, 2015 WL 5166014, at *26 (E.D.
Tenn. June 24, 2015) (dismissing the plaintiffs’ claims under the antitrust laws of the District of Columbia,
Mississippi, Nevada, New York, North Carolina, South Dakota, Tennessee, Wisconsin, and West Virginia because
their allegations were “conclusory” and did not “address[ ] any connection between the individual state and the
wrongful conduct”).
         100
            In re Aggrenox, 94 F. Supp. 3d at 253; see also In re Auto. Parts Antitrust Litig. (In re Instrument Panel
Clusters), No. 12-md-02311, 2014 WL 2993753, at *16 (E.D. Mich. July 3, 2014) (“This Court is not persuaded that
an incidental versus a substantial in-state injury, which is a fact-based inquiry, can be assessed at this stage of the
proceedings.”).
         101
               In re Remicade Antitrust Litig., No. 17-04326, 2018 WL 6446611, at *12 (E.D. Pa. Dec. 7, 2018).
         102
             See CB Defs’ Mem in Support of Mot. to Dismiss EPP Compl. at 22 (Utah); DG Defs.’ Mem. in
Support of Mot. to Dismiss EPP Compl. at 19 (Utah); DV Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl.
at 18 (Utah); DX Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 20 (Utah); EC Defs.’ Mem. in Support
of Mot. to Dismiss EPP Compl. at 16 (Utah); PV Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 18-19
(South Dakota) and 20 (Utah); CB Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at 27 (Utah); DV Defs’
Mem in Support of Mot. to Dismiss IRP Compl. at 20-21 (Utah); DX Defs’ Mem in Support of Mot. to Dismiss IRP
Compl. at 21-22 (Utah); EC Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at 11 (Utah); PV Defs’ Mem in
Support of Mot. to Dismiss IRP Compl. at 20-21 (South Dakota and Utah).
          103
              Utah Code Ann. § 76-10-3109(1)(a) (emphasis added). Although pravastatin Defendants assert that a
similar requirement applies under the South Dakota antitrust law, they cite neither statute nor case law to suggest
that a similar requirement exists under South Dakota law.



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that that dismissal is not warranted because “nothing in the relevant statutes requires that the

named Plaintiffs in class actions be citizens or residents . . . .”104 They assert that there are

members of the putative Group 1 EPP and IRP classes that made purchases or reimbursements

for the Group 1 drugs in each relevant U.S. and state territory at supracompetitive prices and that

no more is needed for their claims to withstand dismissal.105 The Court agrees with EPPs and

IRPs. “Allegations that members of the putative class presumably include Utah [and, in this

case, South Dakota] citizens and residents are sufficient to overcome a motion to dismiss.”106

Defendants’ motions will be denied to the extent that they seek to dismiss Group 1 EPPs’ and

IRPs’ claims for failure to sufficiently allege they have met citizenship or residency requirements

set forth under the antitrust laws of South Dakota and Utah.

                            e.         Rhode Island: Partial Illinois Brick Bar

        Group 1 Defendants contend that the divalproex ER and doxycycline EPPs and IRPs

cannot seek redress under the Rhode Island antitrust law107 for their claims concerning alleged

overcharges incurred before July 15, 2013, arguing that the state’s Illinois Brick repealer statute,

enacted on that date, does not apply retroactively.108 The Court agrees. Divalproex ER and


        104
              PV EPP Opp. Br. at 28.
        105
           See, e.g., CB EPP Opp. Br. at 27-28; see also CB IRP Opp. Br. at 14 (“IRPs concede that no named
pharmacy is a citizen or resident of Utah. This claim is brought in a representative capacity.”).
          106
              Hosp. Auth. of Metro. Gov’t of Nashville v. Momenta Pharm., Inc., No. 15-01100, 2018 WL 6378457, at
*11 (M.D. Tenn. Dec. 5, 2018); see also In re Liquid Aluminum Sulfate, 2017 WL 3131977, at *28 (declining to
dismiss the Plaintiffs’ Utah antitrust claim where they alleged that “members of the putative classes made purchases
in Utah”); In re Asacol, 2016 WL 4083333, at *13 (same). But see In re Lipitor, 336 F. Supp. 3d at 419 (“[B]ecause
there must be at least one named plaintiff who is a Utah citizen or resident in order to establish standing for the
putative class, EPPs’ claims under the Utah Antitrust Act are dismissed without prejudice.”); In re Niaspan, 42 F.
Supp. 3d at 759–60 (“at least one named plaintiff must be a citizen or resident of Utah in order to seek classwide
relief under the Utah Antitrust Act”).
        107
              R.I. Gen. Laws § 6–36–7(d).
        108
           See Defs.’ Mem. in Support of Mot. to Dismiss DV EPP Compl. at 18; Defs.’ Mem. in Support of Mot.
to Dismiss DV IRP Compl. at 20 n.14; Defs.’ Mem. in Support of Mot. to Dismiss DX EPP Compl. at 19; Defs.’
Mem. in Support of Mot. to Dismiss DX IRP Compl. at 21.


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doxycycline EPPs and IRPs have not cited a decision that would support a conclusion to the

contrary. Courts that have considered the question have determined that the Rhode Island statute

is prospective, not retroactive.109 Divalproex ER and doxycycline EPPs and IRPs may not

recover for any alleged overcharges incurred before the Rhode Island Illinois Brick-repealer

statutes took effect, but may proceed with their claims for alleged overcharges incurred on or

after July 15, 2013.

                  2.       STATE CONSUMER PROTECTION CLAIMS

         Group 1 EPPs’ and IRPs’ state consumer protection claims rest on the same allegations as

the direct purchasers’ underlying federal antitrust claims which the Court has already determined

sufficient to support plausible antitrust claims. As with Group 1 EPPs’ and IRPs’ state antitrust

claims, Group 1 Defendants argue that many of their state consumer protection claims should be

dismissed for failure to state a claim.

         Group 1 EPPs respond that the same “detailed and extensive factual allegations” that

support their federal antitrust claims also “demonstrat[e] that Defendants engaged in an unfair,

deceptive and unconscionable scheme to fix prices and allocate markets, thereby causing harm to

consumers and third-party payers in each state, who paid supracompetitive prices and were

deprived of the benefits of free and open competition.”110 Likewise, Group 1 IRPs assert that




         109
             See In re Effexor Antitrust Litig., 337 F. Supp. 3d 435, 460 (D.N.J. 2018) (“Rhode Island’s repealer does
not apply retroactively”); In re Lipitor, 336 F. Supp. 3d at 419 (“courts have consistently held that the Rhode Island
repealer applies prospectively”); In re Solodyn, 2015 WL 5458570, at *15 (finding the Rhode Island repealer law
applies prospectively); In re Aggrenox, 94 F. Supp. 3d at 253 (“In the absence of evidence of the Rhode Island
legislature’s intent to the contrary, I conclude that the law applies only prospectively.”); In re Cast Iron, 2015 WL
5166014, at *22 (dismissing IPPs’ claims brought pursuant to Rhode Island’s Antitrust Act, to the extent the “claims
alleg[ed] overcharges before July 15, 2013”); In re Niaspan, 42 F. Supp. 3d at 759 (finding the Rhode Island
repealer statute applies prospectively in the absence of legislative intent to the contrary).
         110
           CB EPP Opp. Mem. at 30; DG EPP Opp. Mem. at 35; DV EPP Opp. Mem. at 33; DX EPP Opp. Mem.
at 34; EC EPP Opp. Mem. at 31; PV EPP Opp. Mem. at 31.



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Defendants’ alleged “deceptive conduct regarding pricing is actionable as an unfair or

unconscionable trade practice, independent of any antitrust cause of action.”111

         Group 1 EPPs and IRPs have the better argument. Their Complaints contain detailed

factual allegations that make plausible their claims that Group 1 Defendants engaged in unfair

competition and they need not reiterate these facts in their consumer protection law counts. 112

The Court considers Defendants’ additional state specific arguments for dismissal of Group 1

EPPs’ and IRPs’ state consumer protection claims below.

                           a.       Illinois Brick Does Not Preclude State Consumer Protection
                                    Claims

         Group 1 Defendants assert that because the Group 1 EPPs’ and IRPs’ state consumer

protection law claims are just repackaged federal antitrust claims, they cannot be used to

circumvent the Illinois Brick prohibition on indirect purchaser claims in Alaska, Florida,

Missouri, Montana, New Jersey and South Carolina. They argue that EPPs and IRPs cannot

simply dress up their antitrust claim as a consumer protection claim. In response, EPPs argue

that Illinois Brick does not nullify (or even address) state consumer protection claims. IRPs

assert that if they had made these claims without alleging any antitrust claim, Defendants would

have no argument for dismissal and their consumer protection claims should not be dismissed

merely because they are pleaded in the same complaint.




         111
           CB IRP Opp. Mem. at 15; DG IRP Opp. Mem. at 15; DV IRP Opp. Mem. at 16; DX IRP Opp. Mem. at
14; EC IRP Opp. Mem. at 16; PV IRP Opp. Mem. at 17-18.
         112
              See Sergeants Benevolent Ass’n Health & Welfare Fund v. Actavis PLC, No. 15-6549, 2018 WL
7197233, at *35 (S.D.N.Y. Dec. 26, 2018) (“the factual allegations that support the IPP’s claims are well-pleaded
throughout the Complaint, and it is not necessary that the IPP reiterate each of them when listing its causes of action
in the final section of the Complaint”); see also In re Domestic Drywall Antitrust Litig., No. 13- 2437, 2016 WL
3769680, at *11 (E.D. Pa. July 13, 2016) (“To the extent Defendants’ one-paragraph [Twombly] argument is an
invitation for the Court to comb through all of Plaintiffs’ consumer protection claims and determine whether the
elements have been adequately pleaded, the Court respectfully declines the invitation.”).



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         The Court agrees with EPPs and IRPs that Defendants’ “repackaging” argument is not

enough to require dismissal of EPPs’ and IRPs’ consumer protection law claims. Because

“states remain free to permit recovery by indirect purchasers,” Group 1 EPPs and IRPs are not

barred from pursuing such a recovery under the various state consumer protection laws so long

as their allegations are enough to plead the relevant consumer protection violation.113

         Further, with respect to EPPs’ and IRPs’ Florida consumer protection claims, Florida

courts have held that the Florida Deceptive and Unfair Trade Practices Act does not have the

same indirect purchaser restriction as the state’s antitrust law.114 Accordingly, the Court

“decline[s] to dismiss the claims for monopolization and attempted monopolization brought

under the FDUTPA on Illinois Brick grounds.”115 Similarly, Illinois Brick does not bar EPPs’ or

IRPs’ claims under the Alaska Unfair Trade Practices and Consumer Protection Act,116 the

Missouri Merchandising Practices Act,117 the Montana Unfair Trade Practices and Consumer


         113
              In re Domestic Drywall, 2016 WL 3769680, at *11 (rejecting the Defendants’ argument that dismissal
of all of the Plaintiffs’ state consumer protection claims was warranted because the claims were an attempt “to build
a Frankensteinian equivalent of a direct purchaser claim”) (citation, internal quotation and alterations omitted); see
also In re Packaged Seafood Prods. Antitrust Litig., 242 F. Supp. 3d 1033, 1080 (S.D. Cal. 2017) (“[J]ust because
the same course of conduct gives rise to recovery under two distinct statutory provisions does not mean that a bar to
recovery under one necessarily applies with equal force to the other.”).
         114
             See In re Fla. Microsoft Antitrust Litig., No. 99-27340, 2002 WL 31423620, at *2 (Fla. Cir. Ct. Aug. 26,
2002) (“Indirect purchasers of a monopolist’s or price fixer’s products, such as Plaintiffs here, may bring suit under
the Florida [Deceptive and Unfair Trade Practices Act].”).
         115
               In re Suboxone, 64 F. Supp. 3d at 699 n.23.
          116
              Alaska Stat. Ann. § 45.50.531(a) (“A person who suffers an ascertainable loss of money or property as a
result of another person’s act or practice declared unlawful by [Ak. Stat.] 45.50.471 may bring a civil action to
recover for each unlawful act or practice three times the actual damages or $500, whichever is greater. . . Nothing in
this subsection prevents a person who brings an action under this subsection from pursuing other remedies available
under other law, including common law.”); see Matanuska Miad, Inc. v. Alaska, 620 P.2d 182, 185 (Ak. 1980)
(finding the same conduct could be found to violate both the Alaska antitrust and consumer protection statutes); but
see In re Lidoderm Antitrust Litig., 103 F. Supp. 3d 1155, 1163 (N.D. Cal. 2015) (declining to allow an indirect
purchaser claim under the Alaska consumer protection law “since no court has affirmatively found to the contrary,
and since, under the current status of the law in Alaska, only the attorney general may sue for money damages on
behalf of indirect purchasers as a result of antitrust violations”) (emphasis added).
         117
            Sheet Metal Workers Local 441 Health & Welfare Plan, 737 F. Supp. 2d at 415 (rejecting the
defendants’ argument that indirect purchasers were barred from asserting claims under the Missouri consumer


                                                             31
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Protection Act118, the New Jersey Consumer Fraud Act,119 or the South Carolina Unfair Trade

Practices Act.120

                            b.      State Consumer Protection Statutes Permit Claims for
                                    Anticompetitive Conduct

         Defendants make a similar argument that the consumer protection laws of Arkansas, the

District of Columbia, Florida, Georgia, New Mexico, Rhode Island, and West Virginia do not

cover Group 1 EPPs’ and IRPs’ claims that Defendants engaged in anticompetitive conduct

because “those laws do not encompass actions based on allegations of an antitrust conspiracy.”121

Group 1 EPPs and IRPs respond that courts have liberally construed these statutes to include

conduct that would also be covered by antitrust laws.122 They also argue that “these states model

their consumer protection statutes on the Federal Trade Commission (‘FTC’) Act, which




protection law); see also In re Packaged Seafood Prods., 242 F. Supp. 3d at 1079 (holding “Illinois Brick does not
bar indirect-purchaser claims under the MMPA”).
         118
            Mont. Code Ann. § 30-14-103 (“Unfair methods of competition and unfair or deceptive acts or practices
in the conduct of any trade or commerce are unlawful); see In re New Motor Vehicles, 350 F. Supp. 2d at 193
(“application of the Montana consumer protection statute is not limited to those who engage directly in consumer
transactions”).
         119
            N.J. Stat. Ann. § 56:8-1 et seq.; see N.J. Stat. Ann. § 56:8-19 (“Any person who suffers any
ascertainable loss of moneys or property, real or personal, as a result of the use or employment by another person of
any method, act, or practice declared unlawful under this act or the act hereby amended and supplemented may
bring an action or assert a counterclaim therefor in any court of competent jurisdiction.”). The Court notes that
EPPs have now withdrawn their New Jersey Consumer Protection Act Claims. See supra n.8. IRPs have not.
         120
             S.C. Code Ann. § 39-5-10, et seq.; see S.C. Code Ann. § 39-5-140 (“Any person who suffers any
ascertainable loss of money or property, real or personal, as a result of the use or employment by another person of
an unfair or deceptive method, act or practice declared unlawful by [the South Carolina Unfair Trade Practices Act]
may bring an action individually, but not in a representative capacity, to recover actual damages.”).
         121
              Defs.’ Mem. in Support of Mot. to Dismiss DV IRP Compl. at 25-26; see Defs.’ Mem. in Support of
Mot. to Dismiss EC EPP Compl. at 20-21; Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 23-24;
Defs.’ Mem. in Support of Mot. to Dismiss DV IRP Compl. at 25-26; see also Defs.’ Mem. in Support of Mot. to
Dismiss DG IRP Compl. at 13-14 (arguing plaintiffs cannot circumvent Florida’s limitation on indirect purchaser
antitrust claims “by dressing up their antitrust claim as a consumer protection claim”).
         122
               See, e.g., DG EPP Opp. Mem. at 36-41; DV IRP Opp. Mem. at 18-19.



                                                         32
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encompasses claims based on antitrust violations.”123

         Defendants have not made a persuasive argument as to why Group 1 EPPs and IRPs

cannot assert consumer protection claims under the laws of these states simply because they also

assert antitrust claims.124 Whether they can ultimately prove a consumer protection claim

separate and apart from their antitrust claims is not a question for resolution at this stage of the

litigation.

                            c.       Class Action Bars Under State Consumer Protection Laws

         Group 1 Defendants also challenge certain of Group 1 EPPs’ and IRPs’ claims under the

consumer protection laws of Alaska, Georgia, Montana, South Carolina, and Utah, arguing that

the relevant state laws do not permit them to proceed with their consumer protection claims in a

class action.125 The Court will consider their challenges with respect to each state law.


         123
               PV EPP Opp. Mem. at 32; see 15 U.S.C.A. § 45(a)(1).
         124
              See, e.g., In re Liquid Aluminum Sulfate, 2017 WL 3131977, at *23 (permitting plaintiff to proceed with
antitrust claims and claims under the Florida Deceptive and Unfair Trade Practices Act); In re Packaged Seafood
Prods., 242 F. Supp. 3d at 1084–85, 1087 (declining to dismiss the plaintiffs’ Rhode Island and West Virginia
consumer protection law claim on the basis of the defendants’ arguments that the statutes do not recognize a cause
of action for price-fixing); In re Chocolate Confectionary, 602 F. Supp. 2d at 583 (declining to dismiss the
plaintiffs’ Arkansas Deceptive Trade Practices Act claim citing the Arkansas Supreme Court’s conclusion that
liberal construction of the statute was appropriate) (citations omitted); id. at 586 (finding the plaintiffs had
sufficiently pled a claim under the New Mexico Unfair Practices Act where they alleged that a “plaintiff had paid
approximately 30% more for a product as a result of price fixing”); Dist. Cablevision Ltd. P’ship v. Bassin, 828
A.2d 714, 723 (D.C. Ct. App. 2003) (“Trade practices that violate other laws, . . . also fall within the purview of
the” District of Columbia Consumer Protection Procedures Act.); Ga. Code Ann. § 10-1-391(a) (West) (“The
purpose . . . shall be to protect consumers and legitimate business enterprises from unfair or deceptive practices in
the conduct of any trade or commerce in part or wholly in the state. It is the intent of the General Assembly that such
practices be swiftly stopped, and this part shall be liberally construed and applied to promote its underlying
purposes and policies.”) (emphasis added).
         125
            CB Defs’ Mem in Support of Mot. to Dismiss EPP Compl. at 26 (Alaska, Georgia, Montana, South
Carolina, Utah); DG Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 24-25 (Georgia, Montana, South
Carolina, Utah); DV Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 20-21 (Georgia, Montana, South
Carolina); DX Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 24-25 (Georgia, Montana, South Carolina,
Utah); EC Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 20 (Georgia, Montana, South Carolina, Utah);
PV Defs.’ Mem. in Support of Mot. to Dismiss EPP Compl. at 23 (Alaska, Georgia, Montana, South Carolina); CB
Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at 28 (Alaska, Georgia, South Carolina); DV Defs’ Mem in
Support of Mot. to Dismiss IRP Compl. at 24-25 (Georgia, South Carolina); DX Defs’ Mem in Support of Mot. to
Dismiss IRP Compl. at 25 (Georgia, South Carolina); EC Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at
13 (Georgia, South Carolina, Utah); PV Defs’ Mem in Support of Mot. to Dismiss IRP Compl. at 24 (Alaska,


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         First, a class action bar does not require dismissal of Group 1 EPPs’ Utah consumer

protection claims. The Utah Consumer protection law “does not prohibit class actions; rather, it

provides that class members may only seek actual, not statutory, damages.”126

         Further, Group 1 EPPs and IRPs allege that Defendants have engaged in unfair

competition or unfair, unconscionable, or deceptive acts or practices in violation of Alaska

Statute § 45.50.471, et seq., a consumer protection statute that does not include a provision

restricting class action claims.127 Arguing that the Group 1 EPP and IRP Alaska consumer

protection claims are subject to a class action bar, Defendants instead cite a decision that relies

on a provision of the separate Alaska antitrust statute, Alaska Statute § 45.50.577(i).128 Group 1

EPPs’ and IRPs’ Alaska consumer protection claims therefore are not subject to dismissal

because of a class action bar.

         Further still, Defendants seek to dismiss Group 1 EPPs’ and IRPs’ Georgia consumer

protection claims, citing the class action bar in the Georgia Fair Business Practices Act, which

provides that “[a]ny person . . . may bring an action individually, but not in a representative

capacity . . . .”129 However, Group 1 EPPs’ and IRPs’ complaints do not specifically assert




Georgia, South Carolina). Defendants do not raise this argument with respect to digoxin IRP’s state consumer
protection claims.
          126
              DV EPP Opp. Br. at 42 (citing Utah Code Ann. § 13-11-19(4)(a) (permitting class actions for “actual
damages” caused by certain statutory violations) and Utah Code Ann. § 13-11-19(2) (consumers may recover “but
not in a class action” actual or statutory damages “whichever is greater”)); see In re Solodyn, 2017 WL 4621777,
at *20 (declining to exclude Utah class members from a class action asserting Utah consumer protection law claims
because the “law provides that class members waive statutory damages; it does not bar class actions”).
         127
               See, e.g. DG EPP Compl. ¶ 256; DG IRP Compl. ¶ 228.
         128
               See, e.g. Defs.’ Mem. in Support of Mot. to Dismiss DG EPP Compl. at 22.
         129
             Ga. Code Ann. § 10-1-399(a). See Defs’ Mem. in Support of Mot. to Dismiss DG EPP Compl. at 24
(citing the Georgia Fair Business practices Act and argument that “Georgia does not permit class actions either”).



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claims under the Georgia Fair Business Practices Act.130 Instead, their complaints allege that

“Defendants have engaged in unfair competition or unfair, unconscionable, or deceptive acts or

practices in violation of the Georgia Uniform Deceptive Trade Practices Act, Georgia Code § 10-

1-370, et seq.”131 That statute does not include the same class action bar as the Georgia Fair

Business Practices Act. In the absence of such a bar, the Court will not dismiss Group 1 EPPs’

or IRPs’ Georgia consumer protection claims on that basis. Nevertheless, the Court notes that

unlike the Georgia Fair Business Practices Act, which permits a recovery of damages, 132 the sole

remedy available under the Georgia Uniform Deceptive Trade Practices Act is injunctive

relief.133 Accordingly, the Court will dismiss Group 1 EPPs’ and IRPs’ Georgia Uniform

Deceptive Trade Practices Act claims to the extent that they seek monetary relief for such claims.

        Finally, Defendants argue that class action bars preclude Group 1 EPPs’ and IRPs’ South

Carolina134 consumer protection claims and Group 1 EPPs’ Montana135 consumer protection

claims. Here, as with Group 1 EPPs’ and IRPs’ Illinois Antitrust Act claims, the analysis

depends on whether the relevant state class action bar provisions are procedural or substantive.

Defendants contend that the provisions are substantive because they are “intertwined” with the




        130
              Ga. Code Ann. § 10-1-390, et seq.
        131
           CB EPP Compl. ¶ 295; DG EPP Compl. ¶ 263; DV EPP Compl. ¶ 261; DX EPP Compl. ¶ 295; EC EPP
Compl. ¶ 268; PV EPP Compl. ¶ 315; CB IRP Compl. ¶ 287; DG IRP Compl. ¶ 234; DV IRP Compl. ¶ 259; DX
IRP Compl. ¶ 323; EC IRP Compl. ¶ 224; PV IRP Compl. ¶ 249.
        132
              See Ga. Code Ann. § 10-1-390, et seq.
        133
           See Ga. Code. Ann. § 10-1-373(a); Moore-Davis Motors, Inc. v. Joyner, 556 S.E.2d 137, 140 (Ga. Ct.
App. 2001); see also Defs.’ Mem. in Support of DG EPP MTD at 25 n.15.
        134
            South Carolina’s Unfair Trade Practices Act provides that a person damaged by violation of the statute
“may bring an action individually, but not in a representative capacity.” S.C. Code Ann. § 39-5-140(a).
        135
           Consumers may “bring an individual but not a class action” under the Montana Consumer Protection
Act. Mont. Code Ann. § 30-14-133(1).



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substantive rights granted by the statutes.136 EPPs and IRPs argue that the provisions are

procedural – that they affect only how the consumer protection claims are processed.137 There is

no controlling authority or a consensus among the District Courts that have considered the effect

of these class action bars, and the Court has determined that the class action bar provisions

specifically included in the Montana and South Carolina consumer protection laws reflect a

substantive policy choice.138 Plaintiffs may not pursue these claims as class claims. To the

extent that plaintiffs wish to pursue these claims on an individual basis, they may if they have

Article III standing to assert the claims.

                             d.       Purely or Primarily Intrastate Conduct

         Group 1 Defendants argue that the consumer protection laws of certain states (Delaware,

Florida, Massachusetts, New Hampshire, New York, North Carolina, Vermont) require that

Plaintiffs’ consumer protection claims arise from purely or primarily intrastate conduct or an in-

state injury and that Group 1 EPPs and IRPs have not alleged any misconduct that is specific to

these states.139 Group 1 EPPs and IRPs respond that they have alleged that because of


         136
               See, e.g. DV Defs.’ IRP Reply Br. at 11.
         137
               See, e.g. DG EPP Opp. Br. at 44-45.
         138
               See In re Lipitor Antitrust Litig., 336 F. Supp. 3d at 416 (holding the class action bar in the Montana
consumer protection act controls in federal court); In re TD Bank, N.A., 150 F. Supp. 3d 593, 635 (D.S.C. 2015)
(“the prohibitions against class actions ingrained in the very text of the [South Carolina Unfair Trade Practices Act]”
. . . . are substantive portions of South Carolina law and are not trumped by Federal Rule of Civil Procedure 23, even
in light of the Shady Grove decision”); In re Auto. Parts Antitrust Litig., 29 F. Supp. 3d 982, 1013 (E.D. Mich.
2014) (holding the plaintiffs could not bring their South Carolina Unfair Trade Practices claim on behalf of a class).
But see In re Dealer Mgmt. Sys. Antitrust Litig., No. 18-864, 2019 WL 334340, at *27 (N.D. Ill. Jan. 25, 2019)
(denying a motion to dismiss the Plaintiff’s class claims under the South Carolina consumer protection law because
the “Defendant has not identified any authority for concluding that the class action bars at issue are so intertwined
with a state-created right or remedy as to justify finding that it trumps Rule 23”); In re Broiler Chicken, 290 F. Supp.
3d at 820–21 (declining to dismiss the plaintiff’s Montana and South Carolina consumer protection laws claims on
the basis of the statutory class action bars); In re Packaged Seafood Prods., 242 F. Supp. 3d at 1086 (“the Court
concludes that the [South Carolina Unfair Trade Practices Act] class-action bar is a procedural rather than
substantive rule”).

           See Defs.’ Mem. in Support of Mot. to Dismiss CB EPP Compl. at 30; Defs.’ Mem. in Support of Mot.
         139

to Dismiss DG EPP Compl. at 29; Defs.’ Mem. in Support of Mot. to Dismiss DV EPP Compl. at 25; Defs.’ Mem.


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Defendants’ alleged actions, prices for the Group 1 drugs were elevated, class members made

purchases at supracompetitive prices, and competition was suppressed within each state where

they assert a consumer protection claim.140 The Court agrees with Group 1 EPPs and IRPs that –

at this stage of the litigation – their allegations of a broad nationwide-scheme to fix generic drug

prices are sufficient to satisfy the intrastate pleading requirements of the state consumer

protection laws under which they pursue their claims.141 Whether the Group 1 EPPs or IRPs will

ultimately establish facts sufficient to prove each of their state consumer protection law claims is

a question that remains to be addressed later in this litigation.

                             e.       Deceptive or Unconscionable Conduct

         Group 1 Defendants also argue that EPPs’ and IRPs’ claims under the consumer

protection statutes of various states fail because their complaints do not sufficiently allege fraud

or deception. Specifically, they contend that the consumer protection laws of Arkansas,


in Support of Mot. to Dismiss DX EPP Compl. at 29-30; Defs.’ Mem. in Support of Mot. to Dismiss EC EPP
Compl. at 29; Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 22-23; Defs.’ Mem. in Support of Mot.
to Dismiss CB IRP Compl. at 30; Defs.’ Mem. in Support of Mot. to Dismiss DG IRP Compl. at 20; Defs.’ Mem. in
Support of Mot. to Dismiss DV IRP Compl. at 30-32; Defs.’ Mem. in Support of Mot. to Dismiss DX IRP Compl. at
30-32; Defs.’ Mem. in Support of Mot. to Dismiss DV IRP Compl. at 30-32. This argument does not appear in
Defendants’ briefs in support of their motions to dismiss the econazole or pravastatin IRP complaints.
         140
               See PV EPP Opp. Br. at 38.
         141
              See In re Domestic Drywall, 2016 WL 3769680, at *9 (finding allegations of wholly intrastate
commerce are not required under North Carolina consumer protection law); Sergeants Benevolent Ass’n Health &
Welfare Fund, 2018 WL 7197233, at *44 (finding plaintiffs’ allegations of drug sales “affecting consumers and third
party payors across the country, including in Massachusetts” sufficient to satisfy “intrastate” pleading requirements);
Sheet Metal Workers Local 441 Health & Welfare Plan, 737 F. Supp. 2d at 409 (“[I]ndirect payor plaintiffs may
assert a cause of action under the FDUTPA for claims arising in Florida based on reimbursement for purchases of
over-priced drugs, even when the alleged injuries did not take place entirely within Florida.”); cf. In re Loestrin 24
FE, 261 F. Supp. 3d at 361 (holding that it would be more efficient to address questions including whether the
plaintiffs had sufficiently alleged intrastate conduct at the class certification, explaining that “[i]t is conceivable, for
example, that the Court could deny class certification, which would obviate the need to consider the arguments with
respect to some of the states”).
          The Court also notes that, in at least some instances, Group 1 EPPs and IRPs include allegations specific to
the in-state injury that Defendants contend are lacking. See, e.g., DV IRP Opp. Br. at 22-24 (rebutting Defendants’
argument that divalproex ER IRPs had not pled a plausible claim under the New York Consumer protection law
because their complaint includes an allegation that “Falconer Pharmacy . . . located in Falconer, New
York . . . indirectly purchased . . . Defendants’ generic Divalproex products”) (citing PV IRP Compl. ¶ 26)).



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Colorado, Delaware, Florida, Michigan, Minnesota, New Mexico, New York, North Dakota,

South Dakota, and Wisconsin require more than an allegation that “Defendants misrepresented to

all purchasers during the Class Period that Defendants’ [Group 1 drug] prices were competitive

and fair.”142 Defendants argue that EPPs’ and IRPs’ complaints should include allegations of

particular “instances where Defendants made such representations.”143 They also argue that “the

absence of any well-pled facts in support of deceptive or unconscionable conduct . . . also infects

the Complaints’ claims pursuant to the Utah and Virginia consumer protection laws.”144

          Group 1 EPPs respond that to the extent they are required to plead deceptive conduct

under any of the cited statutes, they have done so because their Complaints allege “an illegal

price-fixing conspiracy among Defendants, hatched in secret and maintained through deception,

during which Defendants misleadingly conveyed to Plaintiffs and the market that pricing for

Defendants’ products was competitive.”145 They also contend that “unconscionable” conduct has

been recognized to encompass “a broad swath of activities, including price-fixing

conspiracies.”146 Group 1 IRPs respond that they have pled facts in support of a finding that

Defendants’ conduct was unconscionable, explaining that the drug pricing data referenced in

their complaints shows that Defendants consistently offered low prices for the Group 1 drugs

before the alleged price increases which, they contend increased despite no change in the product

or increase in costs for raw materials, labor or overhead.147

          142
                See, e.g., Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 25 (citing PV EPP Compl.
¶ 333).
          143
                Id.
          144
                Id.
          145
                DG EPP Opp. Br. at 46-47.
          146
                Id. at 47-48.
          147
                PV IRP Opp. Br. at 21.


                                                          38
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        At this stage of the litigation, Group 1 EPPs and IRPs have sufficiently alleged that

Defendants engaged in deceptive and/or unconscionable conduct to permit their claims to

withstand dismissal. First, Group 1 EPPs’ and IRPs’ consumer protection claims rest on

Defendants’ alleged unconscionable or deceptive conduct, not on fraud. Therefore, their claims

do not require application of the heightened pleading standard of Rule 9(b) of the Federal Rules

of Civil Procedure. Further, even if Rule 9(b) does apply to the allegations supporting Group 1

EPPs’ or IRPs’ consumer protection claims, their allegations would be sufficient to withstand

dismissal. To satisfy Rule 9(b), plaintiffs “must plead or allege the date, time and place of the

alleged fraud or otherwise inject precision or some measure of substantiation into a fraud

allegation.”148 Group 1 EPPs’ and IRPs’ Complaints include detailed allegations regarding

Group 1 Defendants’ trade association memberships, their representation on trade association

boards, and attendance at industry gatherings the prices of the Group 1 drugs and the timing of

price increases along with detailed allegations regarding the prices of the Group 1 Drugs and the

timing and size of alleged price increases. The Complaints are sufficiently detailed to “inject

precision” into EPPs’ and IRPs’ consumer protection claims at this stage of the litigation.

Whether Group 1 EPPs or IRPs will be able to meet their burden to show deceptive or

unconscionable conduct on the developed evidentiary record at summary judgment or trial is a

question for another day.

                          f.       Statutory Definition of a “Consumer”

        Group 1 Defendants argue the state consumer protection claims of certain EPPs and IRPs

must be dismissed because they do not meet the requirements of statutes that permit suits only by



        148
             In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., No. 09-730, 2013 WL 5761202, at *8 (E.D.
Pa. Oct. 23, 2013).



                                                       39
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certain types of consumers.149 They also argue that Group 1 EPPs’ and IRPs’ claims fail under

the consumer protection laws of certain states that limit their protections to those who purchased

“goods or services primarily for personal, family, or household purposes.”150

        In response, EPPs note that they and the putative class they represent includes both

individuals and third party payers such as employee welfare benefit funds, labor unions, and

private insurers.151 And, to the extent that they are not individual consumers, EPPs assert that

they fall within the relevant state statutes’ definitions of a “consumer” in that they

        participate in consumer transactions by paying some or all of the prices charged to
        individual consumers, and, as a result, pay a portion of any overcharges. These
        purchases are made for the personal purposes of the patient. [Third party payors]
        do not purchase drugs for resale, distribute products or act as intermediaries in the
        distribution chain.152

To the extent that Group 1 Defendants contend that IRPs’ North Carolina consumer protection

claims should be dismissed, IRPs respond that Defendants have not “cite[d] any authority

limiting the statute to consumers who purchased for household purposes only.”153 IRPs also

assert that their “California consumer protection claims are validly asserted” because they “did

indeed purchase the drugs in question.”154 In addition, IRPs respond to Defendants’ “consumer


        149
            See, e.g. Defs.’ Mem. in Support of Mot. to Dismiss CB EPP Compl. at 32 (arguing that EPPs are not
consumers under the meaning of the consumer protection laws of California, Michigan, Vermont, and the District of
Columbia); Defs.’ Mem. in Support of Mot. to Dismiss CB IRP Compl. at 30 (“IRPs – independent pharmacies that
bought generic Clobetasol for resale to consumers – cannot bring claims under the consumer protection laws of
California, Michigan, Nevada, North Carolina, and West Virginia . . . because they are not consumers, they did not
purchase Clobetasol for consumer purposes, and they are plainly not elderly or disabled persons.”).
        150
            See, e.g. Defs.’ Mem. in Support of Mot. to Dismiss CB EPP Compl. at 32 (arguing that the consumer
protection statutes of the District of Columbia, Hawaii, Missouri, Montana, Nevada, Rhode Island, and West
Virginia limit recovery to those who made purchases “primarily for personal, family, or household purposes”).
        151
              CB EPP Opp. Mem. at 45.
        152
              Id.
        153
              DX IRP Opp. Mem. at 21.
        154
              CB IRP Opp. Mem. at 21.



                                                       40
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definition” arguments by voluntarily dismissing their claims under the Michigan and Nevada

consumer protection statutes.155

         Group 1 EPPs and IRPs have plausibly alleged that they are entitled to recover for state

consumer protection violations on behalf of at least some of the named plaintiffs and members of

the putative class in each of their Complaints. This is enough to permit their California, District

of Columbia, Hawaii, Massachusetts, Michigan, Missouri, Montana, Nevada, Rhode Island, and

Vermont consumer protection law claims to proceed.156 Whether EPPs and/or IRPs will


         155
             See, e.g. DX IRP Opp. Mem. at 21. Because defendants do not specifically move to dismiss digoxin
IRPs’ claims based on this argument, see Defs.’ Mem. in Support of Mot. to Dismiss DG IRP Compl., the digoxin
IRPs’ opposition to the motion does not address it and they do not voluntarily dismiss their claims under the
Michigan or Nevada consumer protection statutes.
         156
             California: The relevant statute permits suits by any “person,” which includes entities. Cal. Bus. &
Prof. Code §§ 17204,17201. District of Columbia: The District’s consumer protection act defines a “consumer” as
any “person,” defined to include entities who purchases “consumer goods or services,” so long as the purchase is not
“for purposes of resale.” D.C. Code § 28-3901(a); see Adam A. Weschler & Son, Inc. v. Klank, 561 A.2d 1003, 1005
(D.C. App. 1989) (“If . . . the purchaser is not engaged in the regular business of purchasing . . . and reselling it, then
the transaction will usually fall within the Act.”). Hawaii: Hawaii Rev. Stat § 480-2(e) (“[a]ny person may bring an
action”); see Davis v. Four Seasons Hotel Ltd., 228 P.3d 303, 309 (Haw. 2010) (“Most of the committee reports
suggest that the ‘any person’ language is to be construed broadly . . . .”). Massachusetts: Mass. Gen. Laws ch. 93A,
§ 9(1) (“Any person, other than a person entitled to bring action under section eleven of this chapter, who has been
injured by another person’s use or employment of any method, act or practice declared to be unlawful by section
two or any rule or regulation issued thereunder . . . may bring an action . . . .”); see In re Pharm. Indus. Average
Wholesale Price Litig., 582 F.3d 156, 191 (1st Cir. 2009) (“§ 9 affords a private remedy to the individual consumer
who suffers a loss as a result of the use of an unfair or deceptive act or practice” as distinct from § 11, which “grants
a cause of action to ‘[a]ny person engaged in the conduct of any trade or commerce,’ which the Massachusetts
Supreme Judicial Court (“SJC”) has interpreted to mean persons ‘acting in a business context’”). Michigan: Mich.
Comp. Laws Ann. § 445.902(d) (“Person” means an individual, corporation, limited liability company, trust,
partnership, incorporated or unincorporated association, or other legal entity); see Action Auto Glass v. Auto Glass
Specialists, 134 F. Supp. 2d 897, 901 (W.D. Mich. 2001) (“any plaintiff asserting a claim under the MCPA would
have to show that the defendant is in the business of providing consumer goods or services,” not that the plaintiff
purchased goods for consumer use) (emphasis added); see also John Labatt Ltd. v. Molson Breweries, 853 F. Supp.
965, 970 (E.D. Mich. 1994) (“the intent of protecting consumers is well served by allowing suit to be brought by
non-consumers who have a significant stake in the events”). Missouri: The Missouri Merchandising Practices Act
defines a “person” to include entities. Mo. Ann. Stat. § 407.010(5); see also State v. Polley, 2 S.W.3d 887, 892 (Mo.
Ct. App. 1999) (“The statute’s broad language of ‘any person who has suffered any ascertainable loss’ contemplates
that other parties, besides the direct purchaser or contracting party, who suffer damages resulting from the violator’s
prohibited conduct under the Act are included among those eligible to receive restitution.”). Montana: Montana
allows claims by any “consumer.” Mont. Code Ann. § 30-14-133(1); see In re New Motor Vehicles, 350 F. Supp. 2d
at 193 (“application of the Montana consumer protection statute is not limited to those who engage directly in
consumer transactions”). Nevada: In Nevada, a consumer protection “action may be brought by any person who is
a victim of consumer fraud.” Nev. Rev. Stat. Ann. § 41.600; see In re DDAVP Indirect Purchaser Antitrust Litig.,
903 F. Supp. 2d 198, 227 (S.D.N.Y. 2012) (“while any victim of consumer fraud may bring a civil action, elderly
and disabled persons may recover more for each violation”). Rhode Island: The Rhode Island Unfair Trade
Practices and Consumer Protection Act permits claims by “[a]ny person who purchases or leases goods or services


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ultimately be able to show that they are “consumers” who made purchases that entitle them to

recovery under the relevant state laws is a question for resolution later in this litigation.157

         The Court will, however, dismiss Group 1 EPPs’ and IRPs’ claims under the West

Virginia Consumer Credit and Protection Act.158 Purchases of generic prescription drugs are the

subject of this litigation and in White v. Wyeth, the Supreme Court of West Virginia held “that

the private cause of action afforded consumers under West Virginia Code § 46A–6–106(a) does

not extend to prescription drug purchases.”159

                             g.      Demand Letter Requirement

         Defendants move to dismiss clobetasol, digoxin, divalproex ER, and doxycycline EPPs’

Massachusetts Consumer Protection Law claims because they have not alleged compliance with

pre-filing demand letter requirements.160 The relevant statutory provision encourages settlement

by means of a “written demand for relief” to be mailed to a defendant before an action is filed.161


primarily for personal, family, or household purposes.” R.I. Gen. Laws Ann. § 6-13.1-5.2(a); see also R.I. Gen.
Laws Ann. § 6-13.1-1 (“‘Person’ means natural persons, corporations, trusts, partnerships, incorporated or
unincorporated associations, and any other legal entity.”). At least some of the Group 1 EPPs are alleged to have
made such purchases. Vermont: As with Rhode Island, at least some of the Group 1 EPPs are alleged to have made
purchases of Group 1 Drugs for use as consumers and thus they have stated a plausible claim for relief at this stage
of the litigation. See In re Aggrenox, 2016 WL 4204478, at *9 (explaining that the Vermont Consumer Fairness
Act’s “definition of ‘consumer’ allows businesses to sue as consumers with respect to the products they use as
consumers.”).
         157
             Cf. In re Liquid Aluminum Sulfate, 2017 WL 3131977, at *26 (“While this Court is not absolutely
certain that IPP will be able to prevail on their District of Columbia Consumer Protection Procedures Act, as they
ultimately may be found to not be consumers, that is not the task at hand. IPP Compl[aint], read as true, sufficiently
states a claim to proceed.”).
         158
               W.Va. Code §§ 46A-6-101-110.
         159
               705 S.E.2d 828, 838 (W. Va. 2010).
         160
             Defs.’ Mem. in Support of Mot. to Dismiss CB EPP Compl. at 30-31; Defs.’ Mem. in Support of Mot. to
Dismiss DG EPP Compl. at 19 n.12; Defs.’ Mem. in Support of Mot. to Dismiss DV EPP Compl. at 30-31; Defs.’
Mem. in Support of Mot. to Dismiss CB EPP Compl. at 32-33. Defendants make a similar argument with respect to
clobetasol, digoxin, divalproex ER, and doxycycline EPPs’ and clobetasol IRPs’ West Virginia Consumer protection
law claims. Because the Court will dismiss these claims pursuant to White v. Wyeth, it need not consider this
argument.
         161
               See Mass. Gen. Law Ch. 93A, § 9.


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Massachusetts statute’s notice requirement – designed to encourage settlement – is procedural

and not substantive in nature.162 The Court declines to dismiss the relevant Massachusetts

consumer protection claims on the basis of this argument.

                     3.       STATE UNJUST ENRICHMENT CLAIMS

         Group 1 Defendants seek to dismiss certain of Group 1 EPPs’ and IRPs’ unjust

enrichment claims. The doctrine of unjust enrichment “is founded on the principle that a party

which receives a benefit under inequitable circumstances should not be permitted to retain the

benefit.”163 “Generally speaking, in order to state a claim for unjust enrichment, a plaintiff must

allege (1) at plaintiff’s expense (2) defendant received [a] benefit (3) under circumstances that

would make it unjust for defendant to retain [the] benefit without paying for it.”164 The specific

requirements to plead unjust enrichment vary by state.

                              a.       Illinois Brick Does Not Bar Unjust Enrichment Claims

         Group 1 Defendants first argue that EPPs and IRPs cannot assert unjust enrichment

claims under the laws of the 25 jurisdictions that have not repudiated Illinois Brick’s prohibition

against indirect purchaser damages actions.165 As a result, they contend the Court should dismiss

EPPs’ and IRPs’ unjust enrichment claims brought under the laws of Alaska, Arkansas,

Colorado, Connecticut, Delaware, Florida, Georgia, Idaho, Illinois, Kentucky, Louisiana,




         162
             See Sergeants Benevolent Ass’n Health & Welfare Fund, 2018 WL 7197233, at *44 (declining to
dismiss Massachusetts consumer protection claim on the basis of the plaintiffs’ failure to allege compliance with the
pre-filing notice requirement, explaining that the provision “appears to operate like a rule 68 offer of judgment,
capping damages for defendants who make settlement offers in good faith”).
         163
               In re Flonase, 692 F. Supp. 2d at 541 (citations omitted).
         164
               In re Suboxone, 64 F. Supp. 3d at 703 (citations omitted).
         165
            See Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 30; Defs.’ Mem. in Support of Mot.
to Dismiss PV IRP Compl. at 31.



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Maryland, Massachusetts, Missouri, Montana, New Jersey, Oklahoma, Pennsylvania, Puerto

Rico, Rhode Island, South Carolina, Texas, Virginia, Washington, and Wyoming.166 EPPs

respond that, “[w]hile decisions go both ways, the better reasoned decisions permit unjust

enrichment claims in non-Illinois Brick repealer states.”167 IRPs argue that “[i]n the absence of

authority from state courts precluding the common law cause of action, it is incorrect to assume

that any state prevents an unjust enrichment claim.”168

         As Group 1 EPPs and IRPs argue, the concerns that motivate Illinois Brick – the

complexity associated with correctly apportioning recovery among direct purchasers,

middlemen, and ultimate consumers,169 are not implicated in the context of unjust enrichment

claims because “the very nature of such claims requires a focus on the gains of the defendants,

not the losses of the plaintiffs.”170 “No reason or logic supports a conclusion that a state’s

adherence to the rule of Illinois Brick dispossesses a person not only of a statutory legal remedy

for an antitrust violation, but also dispossesses the same person of his right to pursue a common

law equitable remedy.”171 Therefore, Illinois Brick does not require dismissal of the unjust

enrichment claims at this time. Plaintiffs are “entitled to plead causes of action in the alternative.



           See, e.g., Defs.’ Mem. in Support of Mot. to Dismiss DX EPP Compl. at 33; Defs.’ Mem. in Support of
         166

Mot. to Dismiss PV EPP Compl. at 30; Defs.’ Mem. in Support of Mot. to Dismiss DX IRP Compl. at 34-35; Defs.’
Mem. in Support of Mot. to Dismiss PV IRP Compl. at 31-32.
         167
               PV EPP Opp. Br. at 52.
         168
               PV IRP Opp. Br. at 25.
         169
               431 U.S. at 737.
         170
               DG EPP Opp. Br. at 57 (quoting Martin v. Ford Motor Co., 292 F.R.D. 252, 280 (E.D. Pa. 2013)).
         171
             In re G-Fees Antitrust Litig., 584 F. Supp. 2d 26, 46 (D.D.C. 2008); see also King Drug Co. of Florence,
Inc. v. Cephalon, Inc., 702 F. Supp. 2d 514, 540 (E.D. Pa. 2010) (“[U]njust enrichment claims are viable regardless
of the applicable state antitrust laws.”). But see In re Packaged Seafood Prods., 242 F. Supp. 3d at 1088–89 (“[I]t
would be inequitable to permit relief where the state has clearly made a policy determination that no such relief
should lie.”).



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Pursuant to Rule 8(d)(2) of the Federal Rules of Civil Procedure, a party ‘may set out 2 or more

statements of a claim or defense alternatively or hypothetically, either in a single count or

defense or in separate ones.’”172

                            b.      Confer a Direct Benefit

        Group 1 Defendants also contend that because Group 1 EPPs’ and IRPs’ are indirect

purchasers, they have not alleged that they conferred a direct benefit on any Defendant as is

necessary to plead an unjust enrichment claim under the laws of Alabama, Arizona, the District

of Columbia, Florida, Georgia, Idaho, Iowa, Kansas, Maine, Maryland, Michigan, Missouri,

New Jersey, New York, North Carolina, North Dakota, Pennsylvania, Rhode Island, South

Carolina, Tennessee, Texas, and Utah.173

        Group 1 EPPs and IRPs respond that Defendants’ “direct benefit” argument fails because,

in the unjust enrichment context, the term direct refers to a benefit that is not incidental, and not

to a requirement that there be privity between the parties.174 They argue that “the chain of

distribution in the pharmaceutical industry is short, direct, and well understood . . . [and p]rice

increases can be directly chased throughout this distribution chain.”175 They contend that it is

enough that they have alleged “that they overpaid as a result of Defendants’ unlawful actions,

that Defendants benefited and were enriched from those sales, that the benefits are traceable by

overpayments by Plaintiffs and the Damages class, and that it would be inequitable for




        172
            In re Liquid Aluminum Sulfate, 2017 WL 3131977, at *29 (quoting Fed. R. Civ. P. 8(d)(2)) (further
citations omitted).
         173
             See, e.g., Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 31; Defs.’ Mem. in Support of
Mot. to Dismiss PV IRP Compl. at 32.
        174
              See, e.g., PV EPP Opp. Mem. at 54; PV IRP Opp. Mem. at 25.
        175
              DG EPP Opp. Mem. at 58 (quoting Propranolol, 249 F. Supp. 3d at 725) (citations omitted).


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Defendants to retain those revenues.”176

         Group 1 EPPs and IRPs have pleaded that they conferred a non-monetary benefit to

Defendants – here the act of purchasing the Group 1 drugs or providing funds for the purchase of

the Group 1 drugs through reimbursement – in that their actions allowed Defendants to obtain

the benefit of increased revenue from the sale of the Group 1 drugs. The EPPs and IRPs have

plausibly alleged that their alleged losses from purchasing Group 1 drugs at inflated prices are

connected to benefits incurred by Defendants who allegedly conspired to raise the prices of those

drugs. “[T]he mere fact that there has been no direct contact between a defendant and the

plaintiff does not preclude a finding that the defendant received a direct benefit from that

plaintiff.”177 At this stage of the litigation, the connection between the EPPs and IRPs and the

Defendants is not so attenuated as to render implausible Group 1 EPPs’ or IRPs’ claims for

unjust enrichment. This conclusion arguably comports with the equitable purpose of an unjust

enrichment claim.178

                             c.       No Adequate Legal Remedy

         Group 1 Defendants also argue that EPPs’ and IRPs’ Arizona, Minnesota, Montana, New

Hampshire, New York, South Dakota, Tennessee, and Utah unjust enrichment claims must be

dismissed because they have not pled that they lack an adequate legal remedy.179 Group 1 EPPs’

and IRPs’ complaints allege that they have no adequate remedy at law.180 At this stage of the


         176
               DG EPP Opp. Mem. at 59 (citing DG EPP Compl. ¶ 290) (internal quotation omitted).
         177
               Williams v. Wells Fargo Bank, N.A., No. 11-21233, 2011 WL 4368980, at *9 (S.D. Fla. Sept. 19, 2011).

           See id. (“It would not serve the principles of justice and equity to preclude an unjust enrichment claim
         178

merely because the ‘benefit’ passed through an intermediary before being conferred on a defendant.”).
         179
               See, e.g., Defs.’ Mem. in Support of Mot. to Dismiss PV EPP Compl. at 33.
         180
               See PV EPP Compl. ¶ 357.



                                                          46
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litigation, considering:

         Rule 8(d)(2)’s permissiveness of alternative pleading, given the [allegations of no
         adequate remedy at law in the Complaints], and allowing for all inferences to be
         drawn in favor of Plaintiffs, the Court cannot rule as a matter of law that Plaintiffs
         have failed to plausibly suggest that there is an absence of an adequate remedy at
         law.181

The Court will not dismiss these unjust enrichment claims based on Defendant’s argument

regarding an adequate legal remedy.

         C.         STATUTE OF LIMITATIONS

         To the extent that Defendants seek to dismiss certain of EPPs’ and IRPs’ claims as being

barred by the statute of limitations, their motions are denied. The question of whether any of

Plaintiffs’ claims are barred by the asserted statute of limitations defenses is more appropriate for

resolution at a later stage of the proceedings following more particularized discovery.182

III.     CONCLUSION

         Consistent with the analysis set forth above, the Court will grant Defendants’ motions in

part and deny them in part. The Court will dismiss the following claims with prejudice:

(1) Group 1 EPPs’ and IRPs’ claims under the Illinois Antitrust Act; (2) divalproex ER and

doxycycline EPPs’ and IRPs’ claims under the Rhode Island antitrust law to the extent they seek

to recover damages for alleged overcharges incurred prior to July 15, 2013; (3) Group 1 EPPs’

and IRPs’ Georgia Uniform Deceptive Trade Practices Act claims to the extent that they seek

monetary relief for such claims; and (4) Group 1 EPPs’ and IRPs’ claims under the West



         181
               In re Processed Egg Prod. Antitrust Litig., 851 F. Supp. 2d 867, 918 (E.D. Pa. 2012).
          182
              See Fried v. JP Morgan Chase & Co., 850 F.3d 590, 604 (3d Cir. 2017) (“If the bar is not apparent on
the face of the complaint, then it may not afford the basis for a dismissal of the complaint under Rule 12(b)(6).”)
(internal quotation marks, alterations and citation omitted); see also Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir.
2014) (“Technically, the Federal Rules of Civil Procedure require a defendant to plead an affirmative defense, like a
statute of limitations defense, in the answer, not in a motion to dismiss.”).



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Virginia Consumer Credit and Protection Act. The Court will also dismiss with prejudice Group

1 EPPs’ and IRPs’ South Carolina consumer protection claims and Group 1 EPPs’ Montana

consumer protection claims to the extent that they seek to pursue these claims on behalf of a

class. They may proceed with the South Carolina and Montana consumer protection claims on

an individual basis if they have Article III standing to assert such claims.

       In addition, the Court will dismiss Group 1 EPPs’ Alabama antitrust claims, Group 1

EPPs’ New Jersey Consumer Protection Act claims, and Group 1 IRPs’ claims under the

Michigan and Nevada consumer protection statutes because they have indicated their intent to

withdraw or voluntarily dismiss these claims in response to Defendants’ motions.

       The Court otherwise concludes that Group 1 EPPs’ and IRPs’ state law claims are

sufficient to withstand dismissal.

       An appropriate Order follows.




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